           Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 1 of 125




                                                                                            EXHIBIT
                                                                                                    4
University of Calgary
PRISM: University of Calgary's Digital Repository


Graduate Studies                                   The Vault: Electronic Theses and Dissertations




2020-04-29


An Investigation on Methane Flux in Landfills and
Correlation with Surface Methane Concentration

Irandoost, Erfan

Irandoost, E. (2020). An Investigation on Methane Flux in Landfills and Correlation with Surface
Methane Concentration (Unpublished master's thesis). University of Calgary, Calgary, AB.
http://hdl.handle.net/1880/111978
master thesis


University of Calgary graduate students retain copyright ownership and moral rights for their
thesis. You may use this material in any way that is permitted by the Copyright Act or through
licensing that has been assigned to the document. For uses that are not allowable under
copyright legislation or licensing, you are required to seek permission.
Downloaded from PRISM: https://prism.ucalgary.ca
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 2 of 125




                           UNIVERSITY OF CALGARY




  An Investigation on Methane Flux in Landfills and Correlation with Surface Methane

                                  Concentration



                                         by



                                   Erfan Irandoost




                                     A THESIS

           SUBMITTED TO THE FACULTY OF GRADUATE STUDIES

         IN PARTIAL FULFILMENT OF THE REQUIREMENTS FOR THE

                        DEGREE OF MASTER OF SCIENCE



                GRADUATE PROGRAM IN CIVIL ENGINEERING



                               CALGARY, ALBERTA



                                    APRIL, 2020



                               © Erfan Irandoost 2020
    Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 3 of 125




                                       Acknowledgements

   During the completion of this thesis, I have received valuable encouragement and support from

many people who deserve to be recognized and I offer my regards and blessings to all of them.



   I would like to start out by thanking the Department of Civil Engineering for providing me with

the necessary tools and resources to work on my thesis. Great thanks to my supervisor, Dr. Patrick

Hettiaratchi, whose guidance, support, and patience from the preliminary to the concluding level

enabled me in progress towards the successful completion of this thesis.



   Special thanks to the Bioretention Research Center for providing the requirements for the

experimental setup, which made this research possible. I am also grateful to the contributions of

our research group: Hiva Jalilzadeh, Eranda Barthalameouz and our summer student, Hasna Nazir,

for their contribution, data collection, and sharing ideas at various stages during the completion of

this thesis. Additional thanks to Dinesh Pokhrel who provided me with valuable advice and offered

many suggestions on problems encountered during the course of experiments and data analysis. I

would like to extend my gratitude to our lab technician, Daniel Larson, for providing the assistance

in my research.



   I acknowledge the financial support for this study provided by the Centre for Environmental

Engineering Research and Education (CEERE) at the University of Calgary, and the Natural

Sciences and Engineering Research Council (NSERC) of Canada.




                                                   i
    Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 4 of 125




                                              ABSTRACT

   With growing concerns over greenhouse gas emissions increase on one hand, and methane’s

high global warming potential on the other, direct methane emission measurement techniques from

area sources such as landfills are receiving increased scrutiny. The static enclosure chamber

method is the only technique that allows direct measurement of landfill gas fluxes. However, due

to the large footprint of landfills, as well as the temporal and spatial variability of landfill methane

emissions, the static enclosure method may not be the best option under some situations because

it is time-consuming and labor-intensive. Collecting surface methane concentration (SMC) data

through the instantaneous emission measurement (IEM) technique is relatively easy and

inexpensive, however it is merely a qualitative means of evaluating surface methane emissions.

This study investigated the development of a relationship between SMCs and methane flux across

the soil-atmosphere boundary in a small-scale test cell under a partially controlled environment,

in an attempt to translate SMC data into quantitative estimates. In addition, the study investigated

the effect of wind speed on surface and flux measurements and the correlation between the two.

    The results demonstrated a significant positive correlation between SMCs and surface flux

measurements. However, a better correlation was achieved when the analysis was performed under

calm wind conditions and mild-to-moderate wind conditions separately. Under calm wind

conditions, a linear correlation was found between SMCs and flux measurements with a resulting

R2 of 0.94 and 0.90 for regression through origin and regression with intercept, respectively. These

findings were in agreement with those of various researchers who have suggested surface flux has

a positive and, in some cases, strong relationship with methane concentrations.

   The results also suggested that the presence of wind caused a decrease in average measured flux

for the majority of inlet flowrates. It also significantly decreased concentrations measured in the



                                                     ii
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 5 of 125




test cell, while shifting the gas to defuse from areas that are further away from the wind source.

Under windy conditions, the results of statistical analysis showed that SMCs have a linear

correlation with flux divided by wind speed with a resulting R2 of 0.88, and other independent

variables were found to be statistically insignificant. This finding was in agreement with the

findings of researchers who observed an inverse relationship between SMCs and wind speeds. It

is also in line with the Gaussian steady-state dispersion model which shows a direct relationship

between SMC and emission rate divided by wind velocity.




                                                 iii
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 6 of 125




                                           Table of Contents
     Acknowledgements ................................................................................................................ i

ABSTRACT .............................................................................................................................. ii

List of Tables ........................................................................................................................... vii

List of Figures......................................................................................................................... viii

.1       INTRODUCTION ............................................................................................................ 1

     1.1.       Background ............................................................................................................... 1

     1.2.       Scope and Objectives ................................................................................................ 4

2.       LITERATURE REVIEW ................................................................................................. 6

     2.1.       Overview ................................................................................................................... 6

     2.2.       Methane Generation Within Landfills ...................................................................... 6

        2.2.1.        Methane Generation Estimation Methods ......................................................... 6

     2.3.       Methane Recovery from Landfills ............................................................................ 7

     2.4.       Methane Migration and Transport ............................................................................ 8

     2.5.       Methane Oxidation and Net Methane Emission ....................................................... 8

     2.6.       Spatial and Temporal Variations in Methane Emissions .......................................... 9

     2.7.       Methane Emission Measurement Techniques ........................................................ 10

        2.7.1.        Flux Chambers (Closed and Open) ................................................................. 10

        2.7.2.        Inverse Dispersion Modelling (Stationary and Mobile) .................................. 12

        2.7.3.        Radial Plume Mapping .................................................................................... 14



                                                                     iv
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 7 of 125




       2.7.4.      Qualitative Methods ........................................................................................ 15

       2.7.5.      Tracer Gas Dispersion (Stationary and Mobile) .............................................. 15

       2.7.6.      Eddy Covariance Method ................................................................................ 17

       2.7.7.      Mass Balance (Stationary and Mobile) ........................................................... 18

       2.7.8.      DIAL ................................................................................................................ 19

     2.8.    Surface Methane Concentration- Flux Measurement Hybrid Method ................... 19

3.      MATERIALS AND METHODS ................................................................................... 26

     3.1.    Overview ................................................................................................................. 26

     3.2.    Test Cell Study........................................................................................................ 26

       3.2.1.      Experimental Setup.......................................................................................... 27

       3.2.2.      Experimental Design ....................................................................................... 30

       3.2.3.      Data Collection ................................................................................................ 35

       3.2.4.      Data Analysis ................................................................................................... 36

     3.3.    Lysimeter Study ...................................................................................................... 37

       3.3.1.      Experimental Setup.......................................................................................... 37

       3.3.2.      Data Collection ................................................................................................ 40

     3.4.    Analytical Methods ................................................................................................. 41

       3.4.1.      Closed Flux Chamber ...................................................................................... 41

       3.4.2.      In-Situ Gas Analyzer ....................................................................................... 43

       3.4.3.      Flame Ionization Detector ............................................................................... 44


                                                                  v
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 8 of 125




4.      RESULTS AND DISCUSSION .................................................................................... 45

     4.1.     Overview ................................................................................................................. 45

     4.2.     Flux vs. Concentration Under Calm Wind Condition ............................................ 45

       4.2.1.       Model validation .............................................................................................. 51

     4.3.     Wind Effect on Flux and Concentration measurements ......................................... 53

       4.3.1.       Flux Measurements.......................................................................................... 55

       4.3.2.       Concentrations ................................................................................................. 56

     4.4.     Effect of Wind on Flux vs. Concentration Relationship ......................................... 60

     4.5.     Linear Regression Assumptions ............................................................................. 63

5.      CONCLUSION AND RECOMMENDATIONS ........................................................... 67

     5.1.     Summary and Conclusion ....................................................................................... 67

     5.2.     Recommendations for Future Research .................................................................. 69

6.      REFERENCES ............................................................................................................... 70

APPENDIX A: CH4 Concentration Contour Plots .................................................................. 82

APPENDIX B: CH4 Flux measurements Contour Plots ......................................................... 90




                                                                   vi
        Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 9 of 125




                                                                 List of Tables

       Table 3.1 Experimental design points for controlled test cell experiments. ........................... 33

       Table 3.2 CH4 inlet flowrates in g.m-2.d-1 and wind condition of all experiments .................. 34

       Table 3.3 RKI EAGLE gas measurement range and accuracy ............................................... 43

       Table 3.4 TVA2020 analyzer specifications ........................................................................... 44

       Table 4.1 OFAT experiments under calm (zero) wind condition ........................................... 47

       Table 4.2 Coefficients of linear regression of the OFAT experiments ................................... 50

       Table 4.3 Validation results for lysimeter #1 and lysimeter #8............................................... 51

       Table 4.4 SMC and flux chamber measurement results of Doehlert Experiments ................. 54

       Table 4.5 Measured flux for flow rates of 200, 400, 500, and 600 with and without wind .... 55

       Table 4.6 Average CH4 concentrations at a single fixed location for inlet flowrates of 200 g.m-
2
    .d-1, 300 g.m-2.d-1, and 400 g.m-2.d-1 ............................................................................................ 58

       Table 4.7 Model summary and analysis of variance (ANOVA) of linear regression model for

the Doehlert experiments .............................................................................................................. 61

       Table 4.8 Coefficients of linear regression model for the Doehlert experiments ................... 61

       Table 4.9 Coefficients of linear regression model for the Doehlert experiments with wind

inverse as an independent variable ............................................................................................... 62

       Table 4.10 Linear regression model summary of OFAT experiments .................................... 63

       Table 4.11 Cook’s Distance and Maximum Leverage values for the OFAT experiments ..... 64




                                                                      vii
     Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 10 of 125




                                                                   List of Figures

     Figure 2.1 CH4 concentration vs. CH4 flux obtained in a landfill in Montreal, Quebec (Fécil et

al., 2003) ....................................................................................................................................... 21

     Figure 2.2 CH4 flux vs. CH4 concentration in eleven MSW landfills by Abichou et al., (2011b)

....................................................................................................................................................... 23

     Figure 2.3 Correlation between surface methane concentration (SMC) and methane emission

rates (MER) developed using averaged values over 1-hectare areas (Abedini, 2014) ................. 24

     Figure 2.4 correlation of ambient methane concentration and methane flux in a (a) lab-scale

study and (b) field-scale study (Lando et al., 2017) ..................................................................... 25

     Figure 3.1 Schematic diagram of experimental set-up; (a) demonstrates the cross section of test

cell and (b) shows a 3D view indicating the gas inlet ports.......................................................... 27

     Figure 3.2 Placing a wooden framework at the bottom of the test cell ................................... 28

     Figure 3.3 Schematic of (a) 3D view of the test cell, and (b) plan view of the test cell ......... 29

     Figure 3.4 Test cell (a) placing sand as the granular media and covering the test cell side panels,

and (b) placing fans at the back of the test cell and checking wind speeds .................................. 29

     Figure 3.5 (a) Set up of the mass precision flow meter, and (b) connection of the inlet gas to

the nine sub-compartments ........................................................................................................... 30

     Figure 3.6 The Doehlert uniform shell design and experimental points considered in this study

....................................................................................................................................................... 33

     Figure 3.7 Division of the test cell into 16 equal grid squares ................................................ 35

     Figure 3.8 Inlet gas distribution network (left) and lysimeter wooden framework (right) ..... 38

     Figure 3.9 Mass precision flowmeter installed in between the controller (rotameter) and CH4

gas inlet ......................................................................................................................................... 39



                                                                             viii
     Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 11 of 125




     Figure 3.10 Soil and vegetation type of lysimeters in summer 2019. Mixture consists of 70%

(v/v) Topsoil and 30% (v/v) compost material ............................................................................. 40

     Figure 3.11 Slope of the CH4 concentration vs. elapsed time ................................................. 42

     Figure 3.12 Schematic of the static closed flux chamber ........................................................ 43

     Figure 4.1 CH4 concentration vs. average flux in OFAT experiments under calm wind condition

using a) arithmetic mean; b) median; and c) geometric mean ...................................................... 48

     Figure 4.2 Average CH4 surface concentration values in ppm for lysimeter #1 ..................... 52

     Figure 4.3 Average CH4 surface concentration values in ppm for lysimeter #8 ..................... 52

     Figure 4.4 Average CH4 concentration contour plots of test cells with inlet flow rates of 400

and 600 g.m-2.d-1 with (4 m/s) and without wind (0 m/s) ............................................................. 57

     Figure 4.5 CH4 concentration variability over a 1-minute time period at nine locations for inlet

flow rate of 600 g.m-2.d-1 .............................................................................................................. 59

     Figure 4.6 Average CH4 concentration (ppm) versus wind speed (m/s) using Doehlert

experiments ................................................................................................................................... 60

     Figure 4.7 The standardized residual plot and deviance from mean of the OFAT experiments

....................................................................................................................................................... 65

     Figure 4.8 Normal distribution plots of residuals of the OFAT experiments under regression

through origin (RTO) .................................................................................................................... 65

     Figure 4.9 Normal distribution plots of residuals of the OFAT experiments under regression

with intercept ................................................................................................................................ 66




                                                                              ix
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 12 of 125




       1.      INTRODUCTION

       1.1.     Background

   Climate change has become one of the most important topics of the modern world and is

attracting increased attention every day. There are many factors influencing this phenomenon, such

as orbital variations, solar output, volcanism, plate tectonics, human influences, etc. However, the

scientific consensus on climate change is that the changes in climate are in large part caused by

human activities. The increase in greenhouse gases, especially carbon dioxide (CO2) and methane

(CH4), is of most concern among the anthropogenic factors; methane’s global warming potential

on a 100-year time horizon is 28 to 34 times (IPCC, 2013). Moreover, atmospheric methane

concentration has increased by more than 200% since pre-industrial times (Wuebbles and Hayhoe,

2002)and as a result, methane contributes to more than 18% of today’s anthropogenic global

warming (Bogner et al., 2007).

   Waste sector is an important anthropogenic source of methane emissions considering methane

is generated during the decomposition of solid waste in landfills. If the volumes are high, generated

methane could be recovered to produce energy (Haubrichs and Widmann, 2006). However, in most

cases, volumes are too small and produced methane gas is allowed to escape into the atmosphere.

In Canada, landfills produce 27 million tonnes of CO2 equivalents (tCO2eq) of methane per year

(Environment and Climate Change Canada, 2012). It accounts for approximately 20% of fugitive

methane emissions from all sources. Therefore, remedial and more preferably preventative

measures need to be taken to minimize fugitive methane emissions from landfills.

   In order to accurately evaluate the effectiveness of various measures implemented to reduce

greenhouse gas emissions from landfills, quantification of methane emission is important. The

most common, indirect method for estimating fugitive methane emissions originating from


                                                   1
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 13 of 125




landfills is to use predictive mathematical models to calculate gas production from anaerobic

degradation of waste, and then use a modification factor to account for losses due to possible

methane oxidation in landfill cover soil and for storage. Single-phase or multi-phase first-order

reaction kinetics are used to model the decomposition of biodegradable waste and the

consequential produced methane gas. Landfill Gas Emissions Model (LandGEM), developed by

the U.S. Environmental Protection Agency (Alexander et al., 2005), is a widely used example of

simulation models used to estimate landfill methane production. Other examples include GasSim

(GasSim2.5, 2014) and European Pollutant Emission Register (EPER) models, such as French

EPER and German EPER (Scharff and Jacobs, 2006). However, fugitive methane emissions and

methane generation within a landfill are not equal, as a significant fraction of generated methane

could be biologically oxidized before it is emitted to the atmosphere (Bogner et al., 1997). On top

of that, generated CH4 is further partitioned into CH4 recovered (or flared), laterally migrated, and

internally stored within the landfill (Bogner and Spokas, 1993). Studies have also shown that

different gas generation models may give disparate results, even when the models’ input data are

relatively the same. Scharff & Jacobs (2005) compared the results of six different methane

emission models with actual measurements for three landfills and measurements were conducted

using three methods: mobile tracer gas dispersion, stationary plume measurement, and mass

balance method. In all of the studied landfills, measurement methods resulted in almost similar

emission estimates, while emission models ranged in between 20%-570% of the measurement

results. This shows the relative limitations of implementing mathematical modeling techniques

based on CH4 generation to estimate fugitive methane emission from landfills.

   Recently, there has been an increased interest in directly measuring fugitive landfill methane

emission. Landfill operators are being required to report landfill emissions on a regular basis. As



                                                   2
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 14 of 125




the price of carbon tax around the world increases, accurate quantification can lead to reliable

assessment of greenhouse gas mitigation strategies and carbon off-sets and credits. Compared to

biogas generation models, direct measurements offer the advantage of site-specific data with

minimal degree of uncertainties arising from assumptions. Furthermore, direct field measurements

can lead to improved understanding of other processes contributing to methane emissions, whether

that be methane generation, oxidation in landfill covers, or efficiency of landfill gas collection

systems.

   Direct methane emission measurements could be performed within a spectrum of spatial scales,

from local small-scale measurements of emissions to large-scale total estimates. With large-scale

estimates, data retrieved from aircraft remote sensing measurements and satellites can be used to

estimate methane emissions from broad geographic areas in regional, national, and global scales.

However, not only do these technologies have limited spatial and temporal coverage, they are

usually not as accurate as in-situ data and are challenging to distinguish multiple sources emitting

methane. For all these reasons, measurement of methane emission from landfills is preferably done

in small-scale ranging from square meters to square kilometers.

   In small-scale estimates, a variety of methods such as radial plume mapping, tracer gas

dispersion, and flux chamber method exist to measure methane fluxes across a landfill final cover.

However, while the flux chamber technique is the only method capable of directly quantifying the

cross-boundary flux of fugitive methane emission into the atmosphere, due to large the footprint

area of most landfills, as well as the temporal and spatial variability of CH4 emissions caused by

heterogeneity of soil cover and waste, the flux chamber technique is a time-consuming and labour-

intensive method.




                                                   3
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 15 of 125




   There are a number of instantaneous emission measurement (IEM) techniques that can provide

a qualitative evaluation of surface methane emissions. For example, flame ionization detectors can

be used to measure the surface methane concentration (SMC) of a landfill surface. Although this

method does not quantify methane surface flux, it gives a general sense about the methane fluxes

and the location of areas with high methane emissions, typically referred to as emission hotspots.

Considering that obtaining SMC data is relatively easy and inexpensive, developing a reliable

approach to correlate surface concentrations to emission fluxes can go a long way to reduce costs

and uncertainties of methane emission measurements at landfills. Combining statistical methods

with the closed flux chamber technique, a point source flux measurement method, can be used to

estimate overall emissions from an entire landfill (Abichou et al., 2011a).

       1.2.     Scope and Objectives

   The overall goal of this research is to develop a cost-effective methodology to determine CH4

fluxes across a landfill final cover using SMC data. In order to address the goal of this study, the

following research questions are raised:

   •   Is there a reliable and statistically significant correlation between SMC and CH4 flux?

   •   What is the effect of atmospheric conditions, wind condition in particular, on measured

       CH4 concentrations and flux measurements?

   •   What is the effect of wind condition on the correlation between CH4 concentration and CH4

       flux?

   To answer the aforementioned research questions, the following objectives will be met:

    • Investigate the correlation between SMC and CH4 flux under various CH4 flow rates and

       wind conditions and cross-validate the results




                                                   4
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 16 of 125




    • Determine the effect of wind on CH4 concentration measurements and flux chamber

       measurements

    • Assess the possibility of using wind speed in conjunction with SMC to estimate methane

       emission or flux

   Furthermore, the temporal and spatial variability of concentration and flux measurements will

be assessed. As measuring methane surface emissions is relatively inexpensive and time efficient,

this research will contribute to the development of a cost-effective methodology that will help

landfill operators monitor fugitive methane emissions from landfills

   The biochemistry of methanotrophic processes, along with the classification and types of

methanotrophs are not included in this study, as well as CH4 oxidation, pathways for CH4

oxidation, carbon assimilation, and mass transfer processes in the media.




                                                 5
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 17 of 125




       2.       LITERATURE REVIEW

       2.1.      Overview

   Direct measurement of methane emissions is gaining increased interest as the price of carbon

tax rises worldwide and regulatory requirements become stricter. Furthermore, assessment of

existing methane emission mitigation strategies, whether they be gas collection systems or

biologically based methods, require reliable and cost-effective estimations of methane emissions.

   This chapter will first briefly touch on methane emission estimation through generation and

oxidation models. Section 2.7 will then discuss available methodologies that directly quantify

methane emissions, particularly from landfills.

       2.2.     Methane Generation Within Landfills

   Under anaerobic conditions, the biodegradable refuse fraction of the waste disposed at landfills

is biologically converted into a gas which mainly consists of methane and CO2. The complex

organic matter produces methane after going through several degradation processes, namely

hydrolysis, fermentation, acetogenesis, and methanogenesis (Jayasinghe, 2013). The duration of

landfill gas (LFG) generation may take from 10 to 80 years, with an intensive waste degradation

happening in a 20 to 30 year period (Perera, 2001).

   Several factors affect the extent and rate of methane generation including the volume of landfill

waste, waste composition and age, environmental factors (such as temperature, moisture, pH, and

nutrients), and particle size (Feyisetan, 2019; Scheutz et al., 2009).

            2.2.1.     Methane Generation Estimation Methods

   In order to develop effective LFG collection systems, an accurate estimate of LFG generation

and emission is required. LFG generation is site specific and depends on many environmental

factors but has been estimated using the following methods:



                                                    6
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 18 of 125




  ▪   Theoretical methods: These methods are based on stoichiometry, biodegradability, and

      total organic carbon of solid waste. According to Barlaz et al. (1990), the estimated

      methane yields from theoretical methods vary from full-scale landfills by 1%-50%.

  ▪   Gas generation models: Biodegradation of organic carbon in solid waste is generally

      modelled using a zero-order or first-order kinetics. However, first-order kinetics is

      commonly used due to better agreement with short-term field observations (El-Fadel et

      al., 1997). The most popular model used for estimating methane generation is the Scholl

      Canyon model, which is based on a single-stage, first-order kinetics. The shortcomings

      of this model include the underlying assumptions of homogeneous microbial population

      and single-substrate limitation which pose considerable uncertainties in the model

      outcome. Other uncertainties surrounding gas generation models include determining

      the waste composition, gas production rate constant, and potential gas yield.

  ▪   Experimental studies: Predicting methane generation from landfills can be calculated

      using laboratory incubation and field-scale experiments. Given the several

      environmental factors which may affect methane generation and emission, and waste

      heterogeneity, the results of experimental studies can vary greatly with actual gas

      generation rates from landfills. Bogner and Spokas (1993) found lower, actual methane

      yield from full-scale landfills compared to the controlled experimental studies.

  ▪   Direct flux measurements: Methane generation rate can also be estimated by modifying

      the methane emission with a methane oxidation rate. The high number of flux

      measurements required, coupled with uncertainties in estimating methane oxidation

      rates, have resulted in this method to not economically feasible (Perera, 2001).

  2.3.    Methane Recovery from Landfills



                                             7
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 19 of 125




   Methane is recovered from many landfills by installing a gas extraction system. LFG extraction

for energy recovery is one of the most common methods of controlling LFG escape into the

atmosphere. The efficiency of methane recovery has been reported to be in a range of 40%-90%,

with the remaining gas escaping into the atmosphere through the final cover (Perera, 2001; Scheutz

et al., 2009). However, gas extraction is not affordable for small or old landfills where sufficient

gas is not generated to justify the costs (Huber-Humer et al., 2008).

       2.4.     Methane Migration and Transport

   The major mechanisms of methane transport within landfills include diffusion and advection.

Diffusive transport is caused by concentration variations, whereas advective transport is a cause

of pressure gradients. In landfill settings, methane transport has been reported to be governed

mostly by diffusional forces and the diffusive flux dominates soil gas emissions. However,

pressure gradients can develop in landfills settings in numerous circumstances which may result

in advective transport to be the main pathway of transport (Scheutz et al., 2009). Additionally,

when landfill covers are vegetated, methane can be transported through plant roots and create

preferential pathways for methane emission (Bian et al., 2018). While this is the case, the extent

of emissions through plant-mediated transport mechanisms has not been thoroughly investigated.

       2.5.    Methane Oxidation and Net Methane Emission

   Landfills are one of the principal anthropogenic sources of methane emission into the

atmosphere. Methane’s Global Warming Potential (GWP), a 100-year time horizon is 34 times

that of CO2. In Canada, methane emission from the waste sector accounted for 29 Mt CO2eq in

2014 which was primarily from landfills (Enviornment and Climate Change Canada, 2016).

Among the various methods for mitigating greenhouse gas emissions, one of the most cost-

effective and promising methods is the application of methanotrophic processes to naturally



                                                   8
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 20 of 125




attenuate methane escaping from closed landfills. Landfill biocover provides suitable

environmental conditions for methanotrophic bacteria.

   The capacity of landfill biocover to oxidize methane depends on various parameters including

soil type, the soil’s physical and chemical properties, temperature, moisture content, nutrient

content, pH, and other parameters (La et al., 2018; Mancebo et al., 2012). Börjesson and

Svensson's (1997) study showed that methane emissions were negatively correlated with soil

temperature, suggesting microbial methane oxidation to be an important regulating factor.

   Since field measurements of emissions quantify net methane emissions inclusive of oxidation,

it is possible to derive the gross rate of methane flux from the waste to the cover (i.e. methane

generation) using the combined emissions and oxidation data. Methods to estimate methane

oxidation rates include isotopic methods (Abichou et al., 2011c; Chanton et al., 2008), field or

laboratory batch incubation experiments, methane oxidation models, and mass balance approaches

(Jalilzadeh, 2019; Scheutz et al., 2009). Since the net methane emission is the focus of the current

study, details on methane oxidation estimation methods will not be further discussed.

       2.6.    Spatial and Temporal Variations in Methane Emissions

   Surface emissions from landfills are not uniform across the landfill final cover. Significant

spatial heterogeneity of methane flux has been observed by Börjesson and Svensson (1997) and

Czepiel et al. (1996) in landfills studies, indicating the high spatial variations in gas flux. There

are areas with no emissions, low to moderate emissions, and relatively high emissions. The areas

with high methane emissions typically have a high air-filled porosity and pore connectivity,

creating preferential pathways and hotspots (Rachor et al., 2013b).

   Aside from spatial heterogeneity, methane emissions have been reported to vary highly with

time. Soil moisture, temperature, and pressure can have a great impact on the emission behavior



                                                   9
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 21 of 125




of a landfill. Rachor et al. (2013) studied the temporal variability of methane emissions over

different time scales and found 0 to 9.7 mol CH4 day -1 over a range of 20 months. This study also

found a correlation of emissions with soil moisture content depending on the amount of soil

moisture or soil matric potential. Gebert et al. (2011) also studied the temporal variability of soil

gas composition in landfills covers and found that the soil gas composition was subject to a

pronounced seasonal variation in sites governed by diffusive gas transport. This variation was best

explained by soil temperature. In sites where advective transport was the main mode of gas

migration, the change of barometric pressure was found to impact the soil gas compositions. On a

daily scale, however, the gas transport was found to be impacted by soil moisture on both sites.

       2.7.    Methane Emission Measurement Techniques

   Multiple measurement techniques have been utilized to detect and quantify methane gas.

Generally speaking, methane detection techniques can be separated into six fundamental

categories: spectroscopic, electrochemical, solid-state, piezoelectric, gas chromatography, and

calorimetric detection systems (Lawrence, 2006). In the context of quantifying methane emissions

from landfills, eight methodologies exist which include: flux chambers, inverse dispersion

modelling, radial plume mapping, mass balance, tracer gas dispersion, eddy covariance, LiDAR,

and qualitative methods.



           2.7.1.      Flux Chambers (Closed and Open)

   By capturing fugitive emissions in relatively small chambers, one can measure gas

concentration therein with time. The rate of change in concentrations of different gases will then

be used to calculate the emission flux. The simplicity and low capital investment of the flux




                                                  10
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 22 of 125




chamber method have made it to be, by far, the most widely used method in quantifying methane

(and other gases) emissions from landfills.

   The flux chamber method has been utilised in different variations and can be separated into

two general groups: open and closed chambers. Each method will be briefly discussed in the

subsequent subsections.

           2.7.1.1.     Closed Flux Chambers

   Closed flux chambers – also referred to as static chambers – were originally developed by soil

scientists to determine CO2 and nitrous oxide (N2O) fluxes from agricultural soils (eg. Denmead,

1979; Kanemasu T. et al., 1974). Change of gas concentration within the chamber (C)          , time


passed (t)    , chamber volume (V), and chamber surface area (A) are used according to Equation


2.1 to calculate gas flux (F).



                        ∆𝐶 𝑉
                  𝐹=      ×                        Equation 2.1
                        ∆𝑡 𝐴

    Closed flux chambers can be operated with or without recirculating the analysed gas back into

the chamber. In order to increase the measurement accuracy, recirculating the gas back into the

chamber is the better option, especially if the gas analyser withdraws a relatively large gas volume

from the chamber.

           2.7.1.2.     Open Flux Chambers

   The concept behind open flux chambers, also known as dynamic flux chambers, involves using

a carrier gas continuously flushing the enclosure area. The emission rate can be then calculated

according to Equation 2.2 by measuring gas concentrations at the inlet and outlet, and the carrier



                                                  11
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 23 of 125




gas flush rate. It is needless to say the measurement should be continued at least to a point where

the system reaches a steady state.

                    𝑄𝑜𝑢𝑡 𝐶𝑜𝑢𝑡 − 𝑄𝑖𝑛 𝐶𝑖𝑛             Equation 2.2
             𝐹=
                            𝐴

   Qout and Qin are gas flow rates at the outlet and inlet, respectively. Similarly, Cout and Cin denote

gas concentration at the outlet and inlet, respectively.

           2.7.2.        Inverse Dispersion Modelling (Stationary and Mobile)

   With measuring downwind concentrations and combining them with meteorological data, the

emission rate can be calculated from a source of known location using the wind direction and the

theory of gas dispersion in the atmosphere. Inverse Dispersion Modelling (IDM) can be considered

as a modification of tracer gas dispersion method without the need to release a tracer gas.

Compared to tracer gas dispersion, the IDM method is less costly and less labour intensive. It is

important to note that the IDM method is less accurate and to a point where some researchers refer

to it as a semi-quantitative method (Fredenslund et al., 2018).

   In most methane estimation studies using IDM, a simple steady-state Gaussian plume

dispersion model is used (Kormi et al., 2018). Equation 2.3 expresses the concentration of gas

downwind of an emission source, in which C(x,y,z) is the concentration of methane (g.m-3) above

background conditions at (x,y,z) coordinate, Q is the methane emission or flux (g.s-1), u is the wind

velocity (m.s-1), H is the effective emission height (m), while z(m) and y(m) denote the vertical

and horizontal distance from the measurement point to the center of the plume, and x(m) is the

distance from the source to the measurement point. Finally, y       (m) and z (m) are the vertical


and horizontal dispersion coefficients, which are functions of the atmospheric stability and x. The




                                                    12
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 24 of 125




emission of fugitive methane from landfill can be estimated by measuring downwind methane

concentrations and using atmospheric condition data collected from a nearby weather station.

                            −𝑦 2
               𝑄 2         ( 2)
                            2𝜎𝑦
                                    −(𝑧 − 𝐻)2        −(𝑧 + 𝐻)2
  𝐶(𝑥, 𝑦, 𝑧) =           𝑒      [𝑒(           ) + 𝑒(           )]       Equation 2.3
               𝑢 2𝜋𝜎𝑦 𝜎𝑧              2𝜎𝑧2             2𝜎𝑧2



   There are two general approaches for IDM, namely stationary IDM and mobile IDM, which

are further discussed in sections 2.7.2.1 and 2.7.2.2.

           2.7.2.1.    Stationary Inverse Dispersion Modelling

   In stationary IDM, one or more concentration measurements obtained downwind of the landfill

can be used to estimate landfill methane emissions. Measurements can either be conducted at one

or multiple fixed locations continuously or for a certain amount of time (Abichou et al., 2012;

Figueroa et al., 2016; Fredenslund et al., 2018; Riddick et al., 2018). Gas concentrations are usually

obtained using optical remote sensing technologies such as cavity ring-down spectrometers, open

path diode lasers, etc. (Gao et al., 2010; Riddick et al., 2018; Todd et al., 2011).

   One of the commercially available software developed based on the dispersion of gases is the

AERMOD steady-state Gaussian dispersion model. AERMOD simulates air dispersion based on

boundary layer turbulence structure using ground level and/or elevated sources. It can also handle

simple to complex types of terrain (Mønster et al., 2019).

           2.7.2.2.    Mobile Inverse Dispersion Modelling

   Mobile inverse dispersion – also referred to as dynamic inverse dispersion – modelling relies

on a vehicle equipped with a fast-responding CH4 analyzer to carry out concentration readings

across a plume downwind of the emission source area. Concentration profiles along with wind

field data are used to fit in an inverse dispersion model to calculate fugitive methane emission

from the source. Any successful application of IDM in quantifying fugitive emissions requires

                                                   13
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 25 of 125




correct and accurate input parameters such as atmospheric stability, surface-induced turbulence,

and wind speed (Mønster et al., 2019). Identification of source configuration is also an important

factor.

           2.7.3.      Radial Plume Mapping

   The radial plume mapping method relies on optical, remote-sensing instruments to measure

methane concentrations over multiple non-overlapping beam paths. This method, which has been

under development since the 1990s, has been validated by performing a series of controlled release

studies that eventually led to the creation of Other Test Method-10 (OTM-10) by US EPA

(Hashmonay and Yost, 1999; U.S. Environmental Protection Agency, 2006). This method can be

applied in two different approaches: horizontal radial plume mapping (HRPM) or vertical radial

plume mapping (VRPM).

   While HRPM can only provide qualitative information about the location of emission hotspots,

VRPM is capable of quantifying methane emissions by measuring the mass of methane gas

crossing over two vertical planes located upwind and downwind of an emission source. In VRPM,

multiple laser beams pointing at reflectors placed in different heights and distances across a

supposed emission source area are used to measure average concentrations along each laser path.

It is worth noting that a typical maximum height for reflector towers is 10 m (Mønster et al., 2019),

and each laser beam has a maximum effective range of 300 m (Goldsmith et al., 2012). This means

that the identification of areas of fugitive methane emissions before the start of VRPM

measurements is necessary, which can be difficult for landfills with unusual or challenging

topography (Goldsmith et al., 2008). Average concentrations along each laser beam will then be

used to model a 2D cross-sectional methane concentration profile. Wind field data is measured

concurrently at the emission area. To put in simple terms, methane flux across each cross-section



                                                  14
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 26 of 125




is calculated by multiplying methane concentration and wind speed at each point on the 2D plume.

Using simple mass balance, CH4 emission from an area is calculated by subtracting the measured

flux through the upwind plane from the flux measured through the downwind plane.



           2.7.4.      Qualitative Methods

   Landfill operators have commonly used handheld gas analyzers such as flame ionization

detectors (FID) to perform walkover surveys on landfills to measure CH4 concentration inches

above landfill surface (Abedini, 2014). Compared to other methods, this method is significantly

less labour intensive and time consuming. However, CH4 concentration surveys are incapable of

measuring CH4 emissions and are only used to identify areas of high emission, also known as

“hotspots”. In some countries such as the United States and the United Kingdom, landfill operators

are legally required to perform periodical SMC surveys, which provides a continuous assessment

on fugitive methane emission and the efficiency of gas mitigation strategies, if existent.

   Thermal infrared cameras have also been used to identify emission hotspots by measuring

surface temperature (Fjelsted et al., 2019; Lewis et al., 2003). Areas with higher temperatures

compared to ambient temperature may indicate fugitive LFG emissions. Although different

emissivity of landfill surface caused by natural heterogeneity of different vegetations and soil

condition may lead to measurement bias. Fjelsted et al. (2019) reported that the minimum CH4

flux which is observable using thermal infrared imagery was 150 g.m-2.d-1, which is a significant

amount. Nonetheless, thermal infrared imagery in conjunction with using aerial unmanned

vehicles can be a very cost-effective method for quick surveys to detect emission hotspots or leaks.

           2.7.5.      Tracer Gas Dispersion (Stationary and Mobile)




                                                  15
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 27 of 125




   Tracer Gas Dispersion (TGD), which is a ground-based remote sensing method, relies on the

release of a tracer gas (with a predefined rate) at the source area. Concentrations of target gas, in

this case CH4, and tracer gas are then measured simultaneously. Assuming that both CH4 and tracer

gas have the same dispersion and chemical/photochemical behaviour, one can calculate the CH4

emission rate as a function of the ratio of the integrated cross-plume concentration of the released

tracer gas (Mønster et al., 2015; Scheutz and Kjeldsen, 2019). Equation 2.4 calculates the CH4

emission rate, in which F is the methane flux, Q is the release rate of tracer gas, Cmethane and Ctracer

are cross-cross plume concentrations of methane and tracer gas, respectively, MW denotes

molecular weights, and x represents distance across the plume. It is worth noting that background

gas concentrations should be subtracted from Cmethane and Ctracer.

            ∫ 𝐶𝑚𝑒𝑡ℎ𝑎𝑛𝑒 𝑑𝑥 𝑀𝑊𝑚𝑒𝑡ℎ𝑎𝑛𝑒
       𝑄×                 ×                                             Equation 2.4
             ∫ 𝐶𝑡𝑟𝑎𝑐𝑒𝑟 𝑑𝑥   𝑀𝑊𝑡𝑟𝑎𝑐𝑒𝑟

   Sulfur Hexafluoride (SF6) has been widely used as a tracer gas in TGD studies, due to its

negligible natural background concentrations and long atmospheric lifetime (Ravishankara et al.,

1993). It also has a very high GWP of 23,500 on a 100-year time horizon. Therefore, it is not

recommended for use in environmental studies. Several studies such as Galle et al., (2000) have

used N2O as a tracer gas. However, N2O is not only present in significant atmospheric background

concentrations – around 324 ppb (IPCC, 2007) – but also a strong Greenhouse gas (GHG) with a

GWP of 298 in a 100-year time horizon. Recently there has been a move towards using acetylene

(C2H2) as a tracer gas (Foster-Wittig et al., 2015; Mønster et al., 2015, 2014), which, although

flammable, has proven to be a good choice as tracer gas as it is cheap, not a potent GHG, and is

easy to release at a constant flow rate (Mønster et al., 2019).

   There are two general approaches when it comes to the tracer gas dispersion method, stationary

and mobile, which are further discussed in the following.

                                                    16
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 28 of 125




            2.7.5.1.   Stationary Tracer Gas Dispersion

   As for the stationary TGD method, CH4 and tracer gas concentrations are measured at either a

fixed single or at multiple locations in the plume downwind from the emission source area.

            2.7.5.2.   Mobile Tracer Gas Dispersion

   Also commonly known as dynamic tracer gas dispersion method, this method is based on

measuring continuous ground level gas concentrations across the whole plume. In order to use this

method, a fast-responding and sensitive gas-sensing instrument such as tunable diode lasers, cavity

ring down spectroscopy, and FTIR are needed (Babilotte et al., 2010; Green et al., 2010; Scheutz

et al., 2011).

            2.7.6.     Eddy Covariance Method

   The eddy covariance method quantifies gas fluxes by directly measuring the vertical movement

of gasses through turbulent eddies in the atmospheric boundary level. Although it was mainly used

for estimations of CO2, water, and energy fluxes, numerous studies have used this methodology to

estimate CH4 fluxes (Baldocchi et al., 1988; Green et al., 2010; Herbst et al., 2011; Scheutz et al.,

2011; Schroth et al., 2012; Xu et al., 2014). A typical eddy covariance method setup includes a 3D

sonic anemometer and an optical remote-sensing instrument both mounted on an elevated point

such as a tower. Tower height is reported to be directly proportional to the desired measurement

area; each meter of tower height can approximately cover a 200 m in diameter of circular area with

the tower being at the center (Xu et al., 2014). Wind data and CH4 concentrations are measured

continuously at a high frequency and are later averaged for 10 to 30 minute time intervals (Mønster

et al., 2019; Xu et al., 2014). Methane flux can be calculated using Equation 2.5 where FCH4 is the

methane flux, w is the vertical wind velocity, Ch4        is CH4 number density, and overbar indicate


average over time intervals.

                                                      17
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 29 of 125




                    𝐹𝐶𝐻4 = 𝑤𝜌𝐶𝐻4                                       Equation 2.5

           2.7.7.       Mass Balance (Stationary and Mobile)

   There are two general approaches to this method: stationary mass balance and mobile mass

balance, which are briefly reviewed in the following.

   2.7.7.1. Stationary Mass Balance

    This method, which is also known as the 1D mass balance method, relies on CH4 concentration

measurements at a single fixed spot but in multiple heights above the landfill surface. Combined

with atmospheric wind velocity, one can estimate the horizontal CH4 flux crossing the

measurement tower vicinity. It is worth noting that unlike other mass balance methods discussed

in sections 2.7.3, 2.7.8, and 2.7.7.2, stationary mass balance method quantifies emission passing

through a single location (1D) and not through a vertical cross-section (2D). Therefore, it has rarely

been used for landfill CH4 flux measurements due to difficulty in measuring whole landfill

emissions (Mønster et al., 2019).

   2.7.7.2. Mobile (Aerial) Mass Balance

   Recently, there has been an increasing interest in utilizing aircrafts especially unmanned aerial

vehicle (UAV) in estimating fugitive methane emissions from various sources. Compared to other

methodologies, aerial measurements can be performed quickly and do not require access to a

landfill. This method relies on concentration measurements across the downwind plume at

different heights and locations, ideally covering the entire extent of the CH4 plume. Similar to

VRPM and DIAL (see sections 2.7.3 and 2.7.8, respectively) concentration measurements are then

translated into 2D concentration profiles. Due to relatively quick movement of UAVs and aircrafts

in general, fast responding instruments are needed to obtain CH4 concentration measurements.




                                                   18
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 30 of 125




These instrumentation include quantum cascade laser spectroscopy, infrared spectroscopy, and

cavity ring down spectroscopy (Cambaliza et al., 2017; Hirst et al., 2013; Peischl et al., 2013).

           2.7.8.      DIAL

   The Differential Absorption LiDAR (DIAL) method utilizes two separate pulsed laser beams.

One laser operates at on-resonant wavelength that can be absorbed by CH4, while the other operates

at off-resonant wavelength and is unaffected by exposure to CH4 (Innocenti et al., 2017). Laser

radiation is partially backscattered by the atmosphere constituents and the returned signals can be

measured by a detector to determine CH4 concentrations. The difference in measurement is due to

absorption by CH4 since both lasers are chosen in a way to have similar interaction with the

atmospheric constituents.

   Several laser paths combined together can form a 2D vertical concentration profile of CH4

emission downwind of a landfill or a section of a landfill. Using a fixed meteorological mast, which

has anemometers at multiple heights, vertical wind distribution is determined. Combining the

vertical CH4 concentration profile with the vertical wind distribution (in a similar way as discussed

in section 2.7.3) will result in the emission measurement from the landfill or a section of a landfill

(Babilotte et al., 2010; Innocenti et al., 2017; Robinson et al., 2011).

       2.8.    Surface Methane Concentration- Flux Measurement Hybrid Method

   Theoretically, CH4 concentrations obtained directly above the surface should be directly

correlated to amount of fugitive emission. There have been a handful of studies which have

suggested that CH4 flux can potentially be estimated from simple measurements of CH4

concentrations close to the landfill surface (Abedini, 2014; Fécil et al., 2003; Gonzalez-Valencia

et al., 2015; Lando et al., 2017).




                                                   19
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 31 of 125




   Fécil et al. (2003) conducted 154 flux chamber measurements using a regular grid on a landfill

site located in Montreal, Quebec. In order to reduce the number of required readings with flux

chamber, correlations were made between fugitive emissions measured with a flux chamber and

surface concentration measurements. For wind speeds lower than 16 km/h, the correlations were

quite strong. SMCs were measured using two methods: instantaneous surface monitoring (ISM)

and the funnel method. In ISM, an FID device is held at 5-7 cm off the landfill divided into a

regularly spaced grid. Funnel method comprises of a FID attached to a funnel to minimize the

effect of wind on measured surface concentrations. Sampling time with the funnel method was

fixed at two minutes. Correlations were made between flux measurements and surface

concentrations using the funnel and ISM method separately in a period of two years. Measurements

were made in such a way to include various atmospheric pressures, cloud coverage, temperatures,

and humidities. Overall, both methods were in agreement, although measurements with the funnel

method showed higher accuracy most likely due to minimized wind effects. As shown in Figure

2.1, this study resulted in a simple correlation between SMCs and flux chamber measurements

provided in Equation 2.6, in which F is CH4 flux (μg.m-2.s-1) and C is CH4 concentration at 6 cm

off the ground surface. This research did not separate measurements based on their weather

conditions and the correlation was developed based on measurements taken throughout the year

under different weather conditions. Also, as the study was conducted in an operational landfill and

information about CH4 inflow is limited.




                                                 20
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 32 of 125




Figure 2.1 CH4 concentration vs. CH4 flux obtained in a landfill in Montreal, Quebec (Fécil et
al., 2003)

       𝐹 = 0.3647 𝐶       (R2 = 0.9188)                              Equation 2.6



   In a more recent study conducted by Héroux et al., (2010), a statistical model was developed

to potentially interpolate surface CH4 emissions over time using three environmental and

atmospheric factors known to influence processes affecting fugitive methane fluxes. These factors

are temperature (T), change in barometric pressure (P), and moisture content (MC). SMC maps

were obtained following an ISM technique using a FID. The geo-referenced CH4 surface

concentrations were then converted into CH4 flux using the correlation found by Fécil et al. (2003)

according to Equation 2.6. A multiple linear regression model (Equation 2.7) was developed to

explain variations of normalized CH4 flux (NF) in time. Statistical analysis showed that all three

factors have a significant effect on CH4 emissions.

  𝑁𝐹 = 1.328 + (−0.753𝑇) + (−0.817𝑀𝐶) + (−0.154∆𝑃) + (0.601𝑇. 𝑀𝐶)                       Equation 2.7



                                                 21
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 33 of 125




   The developed model was later verified by measuring CH4 emissions one year after the model

was developed (August 2005). The average ratio of modelled and measured emission rates was

103% with a standard deviation of ±24%. This comparison shows the validity of the developed

approach to estimate CH4 emissions in months that have similar climatic conditions. The SMC vs.

flux correlation was not validated as no actual flux measurements were conducted to verify the

modelling results. Additionally, the measurement campaign was only conducted in a short period

of time for a limited range of temperatures.

   CH4 emissions, surface concentrations, and oxidation were measured on 11 municipal solid

waste (MSW) landfills in the United States during a three-year study (Abichou et al., 2011b).

Figure 2.2 shows the flux vs. correlation observed using different averaging methods. The CH4

flux and concentration correlation were investigated using arithmetic mean, median, and geometric

mean of data. The correlation coefficient ranged from 0.55 to 0.86, showing a better fit between

flux and concentration values using the geometric mean. This is in agreement with findings of

Fécil et al., (2003), which further shows a reliable correlation could be found. SMC was measured

through sample collection from the flux chamber immediately after deploying and sealing to the

ground. Samples were later analyzed using a gas chromatograph. The concentration measurements

were done different than usual concentration surveys, therefore results are not directly comparable

with other studies.




                                                 22
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 34 of 125




 Figure 2.2 CH4 flux vs. CH4 concentration in eleven MSW landfills by Abichou et al., (2011b)
   Abedini (2014), in a study conducted at the Vancouver Landfill, measured CH4 flux and surface

concentrations on 16 hectares of land. The landfill area was divided into 1-hectare grids and SMCs

were logged by performing walking FID surveys in each grid space. In total, 189 flux chamber

measurements were also made over the grid spaces. The CH4 emission rates, as measured by flux

chamber measurements, ranged between 17 and 4,709 g.m-2.d-1. The average SMCs ranged

between 3.5 and 52.6 ppmv CH4, relative to the average emission range that ranged from 0.7 to

19.5 g.m-2.d-1. As shown in Figure 2.3, plotting average CH4 concentrations against average

emission rates showed a strong correlation with R2 value of 0.899. Data points represented with Δ

  are excluded from data analysis due to unreliable flux chamber survey conditions such as steep


slopes, vicinity to landfill gas wells, etc. It is worth noting that CH4 emission rates were adjusted

                                                   Δ𝑃
based on the rate of change in barometric pressure 𝑇 at the time of conducting field measurements.

       Δ𝑃                                                                                    Δ𝑃
When 𝑇 > 0            , actual flux was higher than measured flux, and conversely when 𝑇 < 0



       actual CH4 flux was lower than measured flux. This adjustment was based on repeating flux


                                                  23
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 35 of 125




chamber experiments on the same location but on different days. The same adjustment was also

made for SMC measurements. As for the limitations of this study, no further validation studies

were conducted at a later time to verify the feasibility of using the developed regression model to

measure emission rates. Moreover, emission rates in hotspots are usually much higher than the

range in which the regression model is developed (0 to 25 g.m-2.d-1).




Figure 2.3 Correlation between surface methane concentration (SMC) and methane emission
rates (MER) developed using averaged values over 1-hectare areas (Abedini, 2014)
   A more recent research worked on developing CH4 flux and concentration correlation both in

a lab and field-scale environments was conducted by Lando et al., 2017. The correlation was

developed for different wind speed ranging from 0 m/s to 6 m/s in the lab-scale study (see

   Figure 2.4 (a)) and in a small, sized 2.4 m x 2.5 m, section of a landfill under wind speeds less

than 1 m/s (see




                                                  24
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 36 of 125




   Figure 2.4 (b)). In all cases, strong correlations were observed between SMCs and flux chamber

measurements. However, results have not been validated using results from different measurement

campaign(s) at a later time.

    (a)                                           (b)




Figure 2.4 correlation of ambient methane concentration and methane flux in a (a) lab-scale
study and (b) field-scale study (Lando et al., 2017)
   In summary, previous research studies concentrated on developing an empirical regression

model to determine CH4 flux rates from SMC. Some studies (Abedini, 2014; Abichou et al., 2011b)

have developed the correlation using area-averaged values, which could potentially introduce

larger sources of error and question their validity to estimate emissions in the future. This method

of measurement also limits the range of flux emission rates to be predicted from the model.

Moreover, to the best of the author’s knowledge, there is very limited laboratory-scaled and

controlled studies have focused on studying the surface concentration and flux correlation while

investigating the effects of external variables such as wind speed.

   Furthermore, considering that most of previous research studies were conducted in landfill sites

and the CH4 inflow flux was relatively unknown, the inherent limitations of flux chamber method

could have affected the SMC and flux correlation.


                                                  25
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 37 of 125




       3.      MATERIALS AND METHODS

       3.1.    Overview

   An experimental procedure was developed to assess the feasibility of determining CH4 flux

across soil-atmosphere boundary at a landfill through SMCs. In order to eliminate the errors caused

by using area-averaged values to develop SMC vs. flux correlation, a wide range of inflow rates

representative to actual landfill conditions was used in this study. The effect of wind speed on the

correlation was further investigated to determine if a more meaningful correlation can be obtained

considering atmospheric conditions. The model developed in this study is based on controlled field

experiments on a non-reactive medium to eliminate the errors caused by atmospheric nuisances

and granular medium properties. The model is then verified using a set of data from a lysimeter

study to evaluate the model efficiency under uncontrolled conditions and different soil types.

   The experimental procedure consisted of two separate components: namely test cell study and

lysimeter study. In the test cell study, the relationship between CH4 flux and concentration was

investigated in a controlled environment. The collected data were analyzed to develop a surface

concentration vs. flux relationship using multiple inlet flow rates into the system. Subsequently,

effect of wind speed on flux chamber measurements and SMCs was determined. In the lysimeter

study, the developed regression model was validated in a pilot-scale landfill biocover or lysimeter

and results are compared with the conventional flux chamber measurements.

       3.2.    Test Cell Study

   The aim of this study was to investigate the feasibility of determining CH4 flux across a

soil/atmosphere interface using SMCs and to estimate the effect of wind speed on CH4 emission

from the soil surface, under controlled conditions. In order to monitor and analyse CH4 fluxes from




                                                  26
    Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 38 of 125




 a soil surface similar to a landfill cover, and in a relatively controlled environment, a test cell was

 designed and installed at the Okotoks Bioretention Centre.

            3.2.1.      Experimental Setup

    The test cell included a square steel box measuring 0.9 m x 0.9 m with a height of 50 cm. The

 bottom of the test cell consists of nine equal sub-compartments and each sub-compartment has a

 separate gas inlet with a nozzle fitted to the base, as shown in Figure 3.1. In order to achieve a

 uniform gas feed passing through the granular medium, an air gap of 3 cm was introduced above

 the inlet points by placing a wire mesh (No.100 or 0.149 mm) covered with a fine-perforated fabric

 in between the porous medium and the bottom of the experimental unit. The wire mesh was

 supported with multiple wooden blocks placed on the bottom of the test cell (Figure 3.2).


      (a)                                                                (b)




Figure 3.1 Schematic diagram of experimental set-up; (a) demonstrates the cross section of test
cell and (b) shows a 3D view indicating the gas inlet ports




                                                    27
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 39 of 125




Figure 3.2 Placing a wooden framework at the bottom of the test cell



   The test cell was filled with uniform sand with particle specific gravity of 2.65 and compacted

to a bulk density of 1.603 g/cm3, and porosity of 0.395. The sides of the test cell were covered with

wooden side panels as shown in Figure 3.3 to minimize the disturbances caused by environmental

conditions. Two high velocity fans (UTILITECH) with a diameter of 20 in were placed at the

back of the test cell on a fixed table to supply wind at a fixed direction and controlled speed (Figure

3.3 and Figure 3.4b). Wind flow was adjusted by using the three-speed controls as well as by

limiting the inflow of air into the fans, if necessary. Wind speed was measured and logged at the

surface using a handheld portable anemometer (HOLDPEAK 866A Digital Anemometer). Wind

speed measurements were conducted over a period of five minutes to ensure a uniform wind speed

is achieved throughout the test cell.




                                                   28
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 40 of 125




   (a)                                         (b)




Figure 3.3 Schematic of (a) 3D view of the test cell, and (b) plan view of the test cell
   (a)                                         (b)




Figure 3.4 Test cell (a) placing sand as the granular media and covering the test cell side
panels, and (b) placing fans at the back of the test cell and checking wind speeds
   CH4 inflow into the test cell was measured using a Cole-Parmer mass precision flowmeter as

shown in Figure 3.5a. The inflow gas was then connected to each of the nine separate gas inlets

which supply the CH4 gas into each sub-compartment (Figure 3.5b).


                                                     29
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 41 of 125




   (a)                                        (b)




Figure 3.5 (a) Set up of the mass precision flow meter, and (b) connection of the inlet gas to the
nine sub-compartments
    All connections and junctions, as well as the test cell itself, were thouroughly examined for

gas leaks using the portable FID and snoop tests. Any leaks identified were fixed prior to starting

the experiments.

           3.2.2.      Experimental Design

   The statistical design of experiment (DOE) is a useful and robust technique for conducting

experiments in an efficient manner. The implementation of DOE in experiments leads to derivation

of a mathematical model which can further be used for interpretation of results and prediction

(Witek-Krowiak et al., 2014). The most popular design methods include the following: central

composite design (CCD), Box-Behnken design (BBD), Doehlert Design (DD) and full or

fractional factorial design (FFD).

   The second-order uniform shell design proposed by Doehlert (Doehlert, 1970) was selected to

investigate the significance of wind on flux vs. SMC correlation. This design contains N2+N+1

experimental points, with N being the number of factors. A two-factor design, therefore, involves



                                                    30
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 42 of 125




a total number of nine experimental runs including two replicates at the center point. The DD was

selected among the common design methods due to the following reasons:

   (I)     Choosing a suitable experimental design allows for studying interaction effects between

           different components, while the one-factor-at-a-time (OFAT) approach, in addition to

           being time-consuming, fails to account for interaction effects.

   (II)    DD is capable of determining second-order effects and is more suitable in

           approximating a response function than experimental designs such as full-factorial

           which are mainly useful in estimating first-order main effects.

   (III)   Fewer number of experimental points are required in DD compared to the CCD or

           BBD designs which can generate a quadratic model with interaction effects. CCD is a

           combination of a factorial design on a star design and can generate a polynomial model

           which can define linear, quadratic, and interaction terms, and allow for rotatability and

           orthogonality. For a study with two factors, the CCD design requires (2N+2N+1) points,

           with N being the number of factors. This method will lead to nine experimental points,

           compared to the seven points required in DD. BBD was developed by Box and Behnken

           in 1960 to minimize the number of experiments. BBD is a rotatable second-order design

           based on three-level incomplete factorial design. Although BBD has fewer required

           experimental runs compared to CCD, it could solely be used in second-order

           polynomial equations and the number of experimental factors has to be equal or greater

           than three (Witek-Krowiak et al., 2014)

   (IV)    DD allows for a rather easy modification of the design to include more levels of

           parameters in the study, if needed. This feature can be of great use when it is realized

           that more levels need to be tested after conducting preliminary experiments.



                                                  31
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 43 of 125




   Considering the advantages of choosing DD over other common design methods, the method

was selected to study the significance of wind on the flux vs. SMC correlation. Although this

design is neither rotatable nor orthogonal, it needs fewer experiments which is more efficient.

Considering that the efficiency of an experimental design is defined as the number of coefficients

of the model estimated divided by the number of experiments, a comparison of the efficiency of

CCD, BBD, and DD shows that the Doehlert design is the most efficient of the three (Ferreira et

al., 2007). Other advantages include the ability to have an unequal number of levels, thereby

having the ability to increase levels, as well as its sequential potential which can allow for new

boundaries to be chosen adjascent to the old boundaries, when initial boundaries have not been

well chosen (Bezerra et al., 2008; Zolgharnein et al., 2013). As summarized in Table 3.1 and shown

in Figure 3.6, CH4 flow rate and wind speed were tested at five and three different levels,

respectively.

   Although soil moisture content has been reported to have a significant effect on CH4 oxidation

and gas transport within landfill final covers (Rachor et al., 2013a), there is no reason to believe it

will affect the SMC vs. flux correlation. Moisture content affects CH4 oxidation by changing gas

transport through soil cover as well as methanotrophic activity. Given that a non-oxidizing media

was used in this study, the only way that moisture content can impact gas emission is through

affecting gas transport. In other words, changing moisture content will only result in changes in

the air-filled porosity of soil. Achieving a uniform and controlled amount of air-filled porosity

throughout the test cell is not feasible nor practical. Therefore, this study did not include moisture

content and air-filled porosity of the media as independent variables.




                                                   32
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 44 of 125




Table 3.1 Experimental design points for controlled test cell experiments.

                                                              Wind Speed
                                 Methane Flow Rate
                     Level
                                     (g.m-2.d-1)
                                                                 (m.s-1)
                       -1                200                        -
                    -0.866                 -                  Calm (Zero)
                      -0.5               400                        -
                       0                 500                 Light (2 m.s-1)
                     +0.5                600                        -
                    +0.866                 -               Moderate (4 m.s-1)
                      +1                 800                        -




Figure 3.6 The Doehlert uniform shell design and experimental points considered in this study
   Prior to starting statistically designed experiments explained in Section 3.2.2, a series of one

factor at a time (OFAT) experiments were conducted in order to assess the CH4 concentration and

flux correlation. These experiments were run with multiple inlet CH4 flow rates under calm or zero


                                                 33
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 45 of 125




wind condition. Table 3.2 shows the flow rates and wind speeds of all experiments used in this

study.

Table 3.2 CH4 inlet flowrates in g.m-2.d-1 and wind condition of all experiments

                                          CH4 inlet flow rate
           #       Wind Speed (m/s)                                        Note
                                             (g.m-2.d-1)
           1               0                      400

           2               0                      600

           3               2                      200

           4               2                      500
                                                                  Statistically designed
           5               2                      500
                                                                  Doehlert experiments
           6               2                      500

           7               2                      800

           8               4                      400

           9               4                      600

           10              0                      25

           11              0                      50

           12              0                      100

           13              0                      150

           14              0                      200              OFAT experiments

           15              0                      300

           16              0                      400

           17              0                      500

           18              0                      600


   As suggested by other researchers, concentration vs. flux relationship should always be looked

at when atmospheric wind speed are as low as <1 m/s. (Fécil et al., 2003; Lando et al., 2017).


                                                 34
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 46 of 125




Furthermore, the US EPA New Source Performance Standard (NSPS) compliance suggests that,

concentration surveys should not be conducted when average ambient wind speed exceeds 5 mph

or when instantaneous wind speed exceeds 10 mph (EPA, 2019). Therefore, in this study, results

of experiments with or without wind are presented and discussed separately.

           3.2.3.        Data Collection

   The test cell was divided into 16 equal (22.5 cm x 22.5 cm) grid squares as shown in Figure

3.7. SMCs were measured using a FID with a pump rate of 1 L/min at pre-defined grid points.




              High

              Velocity

              Fans




                Figure 3.7 Division of the test cell into 16 equal grid squares

Each measurement was conducted over a one-minute time period and the temporal variability of

SMC was recorded. The reason for selecting a one-minute time period is explained, in detail, in

section 4.3.2.1. To put it briefly, one minute was the shortest period of time in which the average

surface concentration values were representative of the average five-minute value. Concentration

measurements were obtained at approximately 5 cm off of the surface. The US EPA suggests a 5-

10 cm range for obtaining surface concentrations (EPA, 2019). Experimental results have shown

that conducting the measurements at a height of 5 cm from ground surface has a 50%-90%

difference with measurements conducted at a height between 7-10 cm. Therefore, the same height


                                                  35
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 47 of 125




during measurements was maintained in order to minimize errors. Static enclosure method (see

Section 3.4.1) was used to measure methane flux at the same grid points.

           3.2.4.     Data Analysis

   The software used for regression analysis was IBM SPSS Statistics 24. The results of OFAT

experiments were used to develop a linear regression model presented in section 4.2. Prior to

interpreting the result of linear regression model, it is important to check the linear regression

assumptions. These assumptions are discussed and validated in detail in section 4.5. Regression

was developed using a 95% confidence interval. The model’s significance was evaluated using the

two tailed p-value. If p-value (or Sig. in results) is lower than the alpha level of 0.05, we can

conclude that the independent variable or SMC can reliably predict our dependent variable or flux.

    A multiple linear regression model involving two independent variables or predictors (x1 and

x2) and a response variable (Y), can be described according to Equation 3.1. Quadratic terms are

created by transforming the data for x1 and x2 variables into x12 and x22, respectively. With wind

speed and methane flow rate as predictors and methane concentration as response variable, a

regression model (Equation 3.2) can be developed for the results of Doehlert experiments.

                                                                                    Equation 3.1


                                                                                    Equation 3.2


   Where Cs is SMC in ppmv; a, b, c, d, e, f are regression coefficients, F is methane flow rate or

flux in g.m-2.d-1; and W is wind speed in m/s.

   There are a number of assumptions in regression analysis that needs to be valid in order to have

a credible correlation between independent variables and the response. Weak exogeneity, linearity,

homoscedasticity, independence of errors, and lack of multicollinearity are some of the main



                                                 36
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 48 of 125




assumptions of linear regression. These assumptions were validated to ensure the viability of the

analysis. Significance of independent variables and their interactions were calculated using F-test

and t-test. In case of failing to meet the linear assumption of regression, possibility of non-linear

regression was explored.

   The developed regression model was then validated in two stages: first by generating new sets

of data with different CH4 inflow rates in the test cell; and second by using information of SMC

and CH4 flux emission flux in pilot-scale 1.8 m x 1.8 m lysimeters.

       3.3.    Lysimeter Study

   Lysimeters are typically used by hydrologists to study infiltration and evaporation of water in

soil. However, the same terminology has often been used for scaled-down or pilot-scale controlled

sanitary landfills that produce LFG and landfill leachate (Henken-Mellies and Schweizer, 2011;

Tränkler et al., 2005). These lysimeters which typically simulate certain components of a landfill

such as bottom liner, drainage layer, leachate collection system, granular media cover, vegetation,

etc. can be used to study many aspects of landfilling operations including the testing of fugitive

emission quantification techniques under relatively controlled conditions.

   Multiple lysimeters were constructed at the Okotoks Bioretention Centre located in Okotoks,

Alberta, Canada. The details of lysimeter experimental setup is explained elsewhere (Jalilzadeh,

2019). For the purposes of this study, a brief description of lysimeter construction and setup is

provided in Section 3.3.1.

           3.3.1.      Experimental Setup

   Eight lysimeters, each measuring 1.8 m x 1.8 m with a depth of 1.2 m were constructed using

wooden frames and paneling. An 80 cm layer of biocover granular material is placed over a 30 cm

layer of washed uniform coarse gravel. The gravel layer was intended to increase the water holding



                                                  37
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 49 of 125




capacity of the lysimeter and to ensure a uniform inlet gas distribution. Natural gas at a pressure

of 5 psi was supplied to each lysimeter using a gas distribution perforated pipe network buried in

the gravel layer (see Figure 3.8).




Figure 3.8 Inlet gas distribution network (left) and lysimeter wooden framework (right)
   CH4 flowrate into each individual lysimeter is adjustable using rotameters. However, during

measurement campaigns for the purposes of this study, the CH4 inflow into each lysimeter was

accurately measured using a Cole-Parmer mass precision flowmeter, as shown in Figure 3.9.

   Figure 3.10 shows the lysimeter soil and vegetation type in summer 2019. Each lysimeter is

numbered and will be referenced as such in this manuscript. In addition to the uniform 20 mm

diameter gravel for the gas distribution layer, two different materials were used as biocover

material: topsoil and a compost mixture of 30% compost and 70% topsoil (v/v). The topsoil was

obtained from the Leduc Regional Landfill (Leduc, Alberta) and mature compost residue was

obtained from the Edmonton Waste Management Centre (Edmonton, Alberta). Dry bulk density

(𝜌𝑑 ) of the biocover material was measured according to ASTM 2216 and specific gravity (𝐺𝑠 )

was measured according to ASTM 854. The average dry bulk density of topsoil and compost

mixture were 1.14 and 0.98 g/cm3, respectively. The specific gravity of topsoil and compost

mixture were 2.55 and 2.36 respectively (Jalilzadeh, 2019).


                                                 38
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 50 of 125




Figure 3.9 Mass precision flowmeter installed in between the controller (rotameter) and CH4 gas
inlet
   In terms of vegetation type, three different vegetation covers were used which included native

grass species, Japanese millet, and alfalfa. The characteristics of each of the plant type is explained

in detail elsewhere (Jalilzadeh, 2019) and will not be discussed here.




                                                   39
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 51 of 125




Figure 3.10 Soil and vegetation type of lysimeters in summer 2019. Mixture consists of 70% (v/v)
Topsoil and 30% (v/v) compost material
           3.3.2.      Data Collection

   Each lysimeter was divided into 16 equal squares using a uniform grid. SMC was measured

above the surface at each individual grid point for at least one minute. Each lysimeter was also

carefully scanned for surface concentrations in areas other than the grid points, which includes

surface irregularities such as sumps, gas sampling tubes, and sensor wires. Similar to the test cell

study, FID probe was held as constant as possible and about 5 cm off of the ground. However, in

some lysimeters which had fully grown vegetation, this was not possible all the time. It is also

worth noting that not all of the lysimeters were chosen to be measured in this study, for example,

lysimeter #7 had issues with water and gas leakage in summer 2019. After completing the surface

concentration survey, emission hotspots were measured using the static flux chamber technique.

                                                  40
      Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 52 of 125




The flux chamber used in this study was identical to that of test cell study described in Section

3.4.1. To minimize gas short-circuiting, flux chamber was inserted into the soil about 1-2 cm.

Unfortunately, due to the relative hardness of the surface in lysimeters, especially the ones with

no vegetation, this was not always possible, so around the chamber was covered by mud in an

effort to seal and prevent the gas bypass effect as suggested by previous researchers (Ohlsson,

2009).

          3.4.     Analytical Methods

              3.4.1.       Closed Flux Chamber

      A cylindrical flux chamber measuring 19 cm in both diameter and height constructed of

plexiglass was used (Figure 3.12) while uptake and return ports were located on top of the chamber.

In order to prevent short-circuiting of the uptake and return gas, the return port outlet was extended

to the bottom of the flux chamber at the expulsion point. This could also help in increasing the

recirculation of gas inside the flux chamber. Flux measurements were conducted using a portable

gas monitor (Eagle, RKI instruments) gas analyzer (See Section 3.4.2).

      CH4 fluxes were determined from concentration data (C in ppmv) plotted versus elapsed time

(t in seconds). The CH4concentration within the chambers increased linearly, in which case dC/dt

is the slope of the fit to the data (see Figure 3.11 as an example). This change in volumetric

concentration was converted to a mass flux by using the ideal gas law. The CH4 flux, F (g.m-2.d-
1
    ), is calculated as follows:


                                                        Equation 3.3


      Where P is pressure (1 atm), V is chamber volume (80 L), n is the molar mass of CH4 (16

g/mol), U is the units conversion factor (0.00144 L min/(µL d)), A is the surface area covered by


                                                   41
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 53 of 125




the chamber (0.4 m2), T is chamber temperature (kelvin), and R is the gas constant (0.08206 L

atm/(K mol)). The slope of the line, dC/dt, was determined by linear regression between CH4

concentration and elapsed time. A non-zero flux was reported only if there was 90% confidence

(p < 0.1) in the correlation between CH4 concentration and time, otherwise a zero-flux is reported

(Abichou et al., 2011b).


                                       4
                                                y = 0.0127x - 0.3426
       Methane Concentration (g/m3)




                                      3.5
                                                     R² = 0.9952
                                       3

                                      2.5

                                       2

                                      1.5

                                       1

                                      0.5

                                       0
                                            0        50       100      150      200   250   300   350
                                                                         Time (s)

Figure 3.11 Slope of the CH4 concentration vs. elapsed time




                                                                           42
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 54 of 125




                                                             Uptake port


                                                              Return port



                                                              Recirculation tube


                                                            Expulsion point




Figure 3.12 Schematic of the static closed flux chamber
          3.4.2.      In-Situ Gas Analyzer

   Testing was conducted with the RKI instruments EAGLE with specifications shown in Table

3.3. The operating temperature ranges between -10C to +40C. The combustible gas (LEL) sensor

in the EAGLE detects combustible gas and vapors in the atmosphere with a catalytic platinum

element. The reaction of gas with oxygen on the catalyst causes a change in the resistance of the

element, which is converted by the Eagle into a reading of combustible gas concentration.

Table 3.3 RKI EAGLE gas measurement range and accuracy

           Gas        Measurement Range                    Accuracy

           CH4        0 – 100% (LEL)                       ± 2%

           CO2        0 – 60% (vol.)                       ± 2%

           O2         0 – 40% (vol.)                       ± 0.5%

           H2S        0 – 100 ppm                          ± 2 ppm

           CO         0 – 500 ppm                          ± 5 ppm




                                                43
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 55 of 125




            3.4.3.     Flame Ionization Detector

   The Thermo Scientific™ TVA2020 Toxic Vapor analyzer was used in this study to measure

SMC which is a portable field analyzer using both FID and Photo Ionization Detection (PID)

technologies. A FID measures organic compounds by utilizing a flame produced by the

combustion of hydrogen and air. Low oxygen can affect the characteristics of the hydrogen flame,

causing readings to be artificially elevated and possibly extinguishing the flame. As a general rule

of thumb, greater than 16% oxygen is required to support the flame. Benefits of FID include

detecting a wide dynamic and linear range, having high sensitivity to hydrocarbon vapors

(including CH4), showing a stable and repeatable response, and being unaffected by ambient levels

of CO, CO2, and water vapor.

   The TVA2020 analyzer is equipped with a FID to measure organic compounds with high

sensitivity. The FID technology allows for a wide dynamic and linear range that produces stable

and repeatable responses. Table 3.4 summarizes the TVA2020 specifications and external

influences which may affect the FID functionality for its normal operating conditions.

Table 3.4 TVA2020 analyzer specifications

                                ±10% of reading or ±1.0 ppm, whichever is greater, from 1.0 to
                                10,000 ppm.
 Accuracy
                                ±10% of reading from 3,000 to 30,000 ppm with a 1-point

                                methane calibration at 15,000 ppm.
 Repeatability                  ±2% at 500 ppm of methane
 Linear and Dynamic range       1.0 to 50,000 ppm of methane
 Minimum detectable level       0.5 ppm of methane
                                Less than 3.5 seconds for 90% of final value, using 10,000 ppm
 Response time
                                of methane
 Sample flow rate               1 liter/minute, nominal, at sample probe inlet
 Ambient Temperature            -10C to +45C
 Ambient pressure               70 to 108 kPa
 Relative humidity range        15 – 95%

                                                  44
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 56 of 125




       4.       RESULTS AND DISCUSSION

       4.1.     Overview

   Prior to starting statistically designed experiments explained in Section 3.2.2, a series of one

factor at a time (OFAT) experiments were conducted in order to assess the CH4 concentration and

flux correlation using a linear regression with SMC being the only predictor variable. Results of

these experiments along with a validation study are presented and discussed in Section 4.2.

   Next, using the results of Doehlert experiments, the effect of wind on flux chamber

measurements and surface concentration measurements are discussed and analysed in sections

4.3.1 and 4.3.2. In section 4.4, the possibility of using wind speed as a predictor variable is

investigated. The multiple linear regression previously introduced in section 3.2.4, more

specifically Equation 3.2, is statistically analysed and an alternative is presented. Finally, the linear

regression assumptions are validated in section 4.5

       4.2.     Flux vs. Concentration Under Calm Wind Condition

   Table 4.1 summarises the results of OFAT experiments conducted under zero wind condition.

Each row represents a flow rate with three averages, arithmetic, median, and geometric for both

CH4 concentration values and CH4 flux. As mentioned, each experiment concentration and flux

were measured over 25 and 9 points, respectively. For example, the second row in Table 4.1 shows

the arithmetic mean, median, and geometric mean of nine flux measurements are 46.24, 47.49, and

41.66 g.m-2.d-1. For the sake of plotting concentration versus flux, concentration data used in this

analysis correspond to the same nine locations where flux measurements were taken, as opposed

to the 25 originally measured concentrations.

   Figure 4.1 visualises average CH4 concentration vs. average CH4 flux correlation of the OFAT

experiments using arithmetic mean, median, and geometric mean. Error bars in the horizontal and



                                                    45
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 57 of 125




vertical axis indicate the standard deviations of CH4 concentration and measured CH4 flux,

respectively. As it can be observed, regression resulted in a strong coefficient of determination in

cases of arithmetic mean and geometric mean with R2 = 0.83 and R2 = 0.72, respectively.




                                                  46
                         Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 58 of 125




Table 4.1 OFAT experiments under calm (zero) wind condition

 Wind      CH4 inlet CH4 Concentration (ppm)                 CH4 Flux (g.m-2.d-1)               Concentration   Flux

 Speed     flow   rate                                                                          Standard        Standard
                           Arithmetic            Geometric   Arithmetic             Geometric
 (m.s-1)   (g.m-2.d-1)                  Median                            Median                Deviation       Deviation
                           mean                  mean        mean                   mean

 0         25              23.84        21.95    19.79       29.32        26.96     28.16       7.16            12.01

 0         50              22.54        15.15    17.47       46.24        47.49     41.66       9.34            19.84

 0         100             46.62        34.40    32.32       101.69       101.08    97.72       22.02           28.71

 0         150             58.72        47.50    43.36       122.64       122.87    117.25      21.45           37.64

 0         200             43.56        35.55    38.13       167.82       169.05    161.50      7.39            45.01

 0         300             160.80       114.00   119.71      194.87       194.03    186.32      69.88           57.37

 0         400             177.81       36.65    45.82       265.44       251.13    255.67      99.66           75.37

 0         500             278.63       147.00   169.46      437.26       439.06    433.07      135.86          60.22

 0         600             441.27       369.00   271.75      467.73       468.72    461.67      174.38          73.36



                                                                     47
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 59 of 125




      a)                                      600
                                                                                        y = 1.264x
                                              500                                        R² = 0.83
                       CH4 Flux (g.m-2.d-1)
                                              400

                                              300

                                              200

                                              100

                                                  0
                                                      0        100         200          300               400           500               600    700
                                                                                   CH4 Concentration (ppm)


     b)                          700
                                                                                                                      y = 1.608x
                                 600                                                                                  R² = 0.4499
       CH4 Flux (g.m-2.d-1)




                                 500

                                 400

                                 300

                                 200

                                 100

                                              0
                                                  0            100          200               300               400                 500         600
                                                                                  CH4 Concentration (ppm)


     c)                          600
                                                                                                                        y = 1.9896x
                                 500                                                                                    R² = 0.7209
       CH4 Flux (g.m-2.d-1)




                                 400

                                 300

                                 200

                                 100

                                              0
                                                  0       50         100    150        200          250         300           350         400   450
                                                                                  CH4 Concentration (ppm)


Figure 4.1 CH4 concentration vs. average flux in OFAT experiments under calm wind condition
using a) arithmetic mean; b) median; and c) geometric mean


                                                                                          48
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 60 of 125




   It is worth noting that since background concentration is omitted from all concentration

readings, linear regression should, theoretically, have a forced intercept through the origin. Given

that the use of arithmetic mean resulted in a better linear fit to the data, regression analysis is only

performed on this set of data.

   Before conducting linear regression, certain key assumptions need to be met, which are

comprehensively discussed elsewhere (Berry, 2011). First two assumptions relate to the choice of

study design and measurements. These assumptions are: first, the dependent variable, also referred

to as target, outcome, or criterion variable, is measured at the continuous level; and second, the

independent variable, also referred to as the predictor, explanatory or regressor variable, is

quantitative and measured at the continuous level. Other key assumptions are: (a) linear

relationship between dependent and independent variables; (b) independence of observations; (c)

no significant outliers; (d) homoscedasticity; (e) normal distribution of residuals or errors. These

assumptions are validated and discussed in detail in section 4.5.

   Both CH4 concentration and CH4 flux are quantitative variables measured at the continuous

level. As it can be observed from Figure 4.1, the relationship between average (arithmetic mean)

surface concentrations and average flux is approximately linear which means that a linear model

might be a good fit for the experimental data.

   According to Table 4.10, experimental results showed a good correlation between SMCs and

flux measurements in both cases of RTO and regression with intercept using a 95% confidence

interval. As determined, theory prescribes that when there are zero surface concentrations, flux

should be zero as well. Furthermore, according to Table 4.2, a student’s t-test indicated that the

constant term or intercept is insignificant.




                                                    49
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 61 of 125




Table 4.2 Coefficients of linear regression of the OFAT experiments

Coefficientsa
                                       Standardize
                       Unstandardized       d                            95.0% Confidence
                       Coefficients    Coefficients                      Interval for B
                                 Std.                                    Lower        Upper
Model                  B         Error    Beta         t            Sig. Bound        Bound
Regression (Constant) 56.987 25.697         -        2.218         0.062    -3.777      117.751
with       C_Average 1.053 0.133          0.949      7.945         0.000     0.739       1.366
intercept
Regression C_Average 1.264 0.113          0.970     11.234         0.000       1.005        1.523
through
origin
(RTO)
a. Dependent Variable: F_Average


   Overall, the results confirm that there is linear relationship between SMCs and surface flux and

suggest the latter can be derived from the former. Equation 4.1 describes the correlation between

SMC and flux, in which F is CH4 flux in g.m-2.d-1 and C is CH4 concentration in ppmv.

                                                    Equation 4.1



   This is in agreement with findings of various researchers who have suggested surface flux has

a positive and, in some cases, strong relationship with CH4 concentrations (Abedini, 2014;

Abichou et al., 2011b; Gonzalez-Valencia et al., 2015; Lando et al., 2017). Results of this study is

nearly identical to findings of a recent study which investigated F vs. C correlation under

controlled conditions, in which F = 1.2 C was reported in the case of calm wind conditions (Lando

et al., 2017). On the other hand, (Fécil et al., 2003) and (Abedini, 2014) reported similar equations,

F = 0.31 C, and F = 0.3202 C +1.3867, respectively. Both of these studies developed the

correlations in a real landfill and under various climatic conditions. Even though, at first glance,

using Equation 4.1 will result in a significant overestimation of flux for the two mentioned studies,



                                                   50
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 62 of 125




Equation 4.1 can still approximately explain the variations of CH4 flux in the range of 0-600 ppm

(see Figure 2.1).

           4.2.1.      Model validation

   The regression model developed in Section 4.2 was validated using an independent data set

obtained from a landfill biocover lysimeter study (see Section 3.3 for more details). Table 4.3

summarises the results of the conducted surface flux measurements along with their associated

concentration readings. Figure 4.3 and Figure 4.2 demonstrate contour maps of measured surface

CH4 concentrations of lysimeter #8 and #1, respectively. The location of the flux measurements

namely I, II, III, IV, and V were selected based on the CH4 concentration contour maps and

locations of emission hotspots, as seen in Figure 4.3 and Figure 4.2.

Table 4.3 Validation results for lysimeter #1 and lysimeter #8

                                     Predicted
           Flux                                             Measured
                       Concentration CH4 Flux                                        Measured/
 Lysimeter measurement                                      CH4 Flux       Error
                       (ppm)         (g.m-2.d-                                       Predicted
           location                                         (g.m-2.d-1)
                                     1)
           I           160           202.14                 275.41         -36%      0.73
 #8           II             47               59.23         51.54          13%       1.15
              III            206              259.56        187.08         28%       1.39
              IV             59               74.39         71.41          4%        1.04
 #1
              V              49               61.74         136.39         -121%     0.45
   Predicted CH4 flux was calculated using Equation 4.1. Using the linear regression resulted in a

minimum absolute error of 4% and maximum absolute error of 121%. Location V’s flux chamber

measurement and/or concentration measurement may be affected as several soil samples were

taken at its vicinity several days before conducting the measurement for lysimeter #1.

   This correlation may be applicable to other case studies, but it is recommended that it be further

validated for other case studies and landfills under different atmospheric conditions.



                                                  51
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 63 of 125




 Figure 4.3 Average CH4 surface concentration values in ppm for lysimeter #8




Figure 4.2 Average CH4 surface concentration values in ppm for lysimeter #1


                                           52
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 64 of 125




       4.3.    Wind Effect on Flux and Concentration measurements

   As Stated in Section 4.1, a series of statistically designed experiments using the Doehlert design

was conducted to investigate the CH4 surface concentration versus CH4 flux correlation under

windy conditions. Table 4.4 summarises the results of Doehlert experiments. Similar to OFAT

experiments, SMC and measured flux values are averaged over nine grid points (B2, B3, B4,C2,

C3, C4, D2, D3, D4 in Figure 3.7) using arithmetic mean, median, and geometric mean values.

For consistency with the results of OFAT experiments, values corresponding to arithmetic mean

are analysed and discussed in the following sections. Before discussing the results on the

correlation itself, the effect of wind on flux measurements and concentration measurements are

discussed and analysed in sections 4.3.1 and 4.3.2.




                                                  53
                          Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 65 of 125




Table 4.4 SMC and flux chamber measurement results of Doehlert Experiments

                             CH4 Surface Concentration (ppm)          CH4 Flux (g.m-2.d-1)
 Wind       CH4 inlet                                                                             Concentraion
                                                                                                                 Flux Standard
Speed       Flow Rate                                                                               Standard
                                                                                                                  Deviation
       -1       -2   -1    Arithmetic             Geometric    Arithmetic             Geometric
(m.s )      (g.m .d )                                                                              Deviation
                                        Median                              Median
                             mean                   mean         mean                   mean

   0          400           177.81      143.00      113.18      250.10      239.83      239.81       99.66          73.71

   0          600           444.57      369.00      274.46      467.73      468.72      461.67      177.22          73.36

   2          200            8.14        7.00        7.78       182.07      183.38      173.43        2.34          56.51

   2          500            24.53      27.00       19.77       369.56      345.51      348.84       12.71          125.63

   2          500            11.37       9.60       10.44       390.80      378.76      379.14        4.60          100.39

   2          500            11.85      10.55       10.65       372.94      298.55      357.52        4.84          111.23

   2          800            34.86      25.15       23.69       567.94      550.15      559.40       25.12          96.65

   4          400            5.51        4.60        5.27       167.16      101.06      133.51        1.85          120.83

   4          600            7.74        7.50        7.33       300.65      290.99      250.67        2.62          148.47




                                                                 54
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 66 of 125




             4.3.1.        Flux Measurements

Table 4.5 Measured flux for flow rates of 200, 400, 500, and 600 with and without wind


                                                          Measured Flux (g.m-2.d-1)
  Inlet flow
                    200 (g.m-2.d-1)            400 (g.m-2.d-1)                500 (g.m-2.d-1)            600 (g.m-2.d-1)
     rate
     Wind
             W=0 m/s W= 2 m/s %Change W=0 m/s W=4 m/s %Change W=0 m/s W= 2 m/s %Change W=0 m/s W=4 m/s %Change
    Speed
      B2       96.30    117.00      21%  153.98 111.21         -28%     330.47     286.58     -13% 329.91     52.74      -84%
      B3      131.50    123.64       -6% 196.28 203.59          4%      382.48     282.24     -26% 413.03 143.29         -65%
      B4      141.29    183.38      30%  239.83 412.79          72%     439.06     293.79     -33% 463.99 191.57         -59%
      C2      124.96    130.07        4% 169.91     77.49      -54%     398.52     298.55     -25% 402.53 290.99         -28%
      C3      169.05    208.83      24%  280.73     54.71      -81%     429.10     438.63      2%  481.13 397.58         -17%
      C4      226.59    241.13        6% 297.52 346.44          16%     467.72     526.47      13% 540.14 448.81         -17%
      D2      178.40    129.97      -27% 216.45     97.59      -55%     452.26     247.77     -45% 468.72 235.57         -50%
      D3      222.00    224.03        1% 290.26 101.06         -65%     482.45     412.69     -14% 527.55 420.43         -20%
      D4      220.33    280.61      27%  405.96     99.59      -75%     553.30     569.74      3%  582.57 524.84         -10%
   Average 167.82       182.07        8% 250.10 167.16         -33%     437.26     372.94     -15% 467.73 300.65         -36%

   Contour plots of flux measurements for all experiments are provided in APPENDIX A: CH4

Concentration Contour Plots. Table 4.5 summarizes the results of flux chamber measurements at

nine grid points (B2, B3, B4, C2, C3, C4, D2, D3, D4) for flow rates ranging from 200 g.m-2.d-1

to 600 g.m-2.d-1. Orange columns show the percentage difference between flux measurements

under calm (w = 0 m/s) and windy (w = 2 or 4 m/s) conditions. As observed, presence of wind

caused a decrease in average measured flux for inlet flowrates of 200, 400, 500, 600 g.m-2.d-1 and

a slight increase for inlet flowrate of 200 g.m-2.d-1. The first row of measurements (B2, B3, B4),

which are the closest measurements to the wind source, experienced a more significant change

compared to the rows further downwind.

   Even though the concentration gradients inside the sand media were not measured, presence of

wind has most probably changed these gradients and shifted the gas to migrate to areas farther

away from the wind source. It is also possible that wind has caused the gas to be temporarily stored

within the sand media. Given that the test cell was only exposed to wind 2 hours prior to conducting

each experiment, longer wait times should be tested to make sure steady state condition is reached.

                                                              55
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 67 of 125




           4.3.2.       Concentrations

   Temporal variability of surface concentrations is discussed in Section 4.3.2.1. Figure 4.4 shows

the spatial distribution of SMC with inlet flow rates of 400 and 600 g.m-2.d-1. Figures on the left

demonstrate the concentration contours without the presence of wind, and figures on the right show

their respective ones but with an average wind speed of 4 m/s. The range of average concentrations

under calm wind condition for CH4 inlet flowrates 400 and 600 g.m-2.d-1 was 60 - 381 ppm and

104 - 676 ppm, respectively. The range of average concentrations under wind speed of 4 m/s, for

CH4 inlet flowrates 400 and 600 g.m-2.d-1 were 4.1 - 10.4 ppm and 4.2 - 21.6 ppm, respectively.

Similar spatial distribution behaviour was observed in other tested flow rates and wind speeds as

well.

   As observed in Figure 4.4, the results indicate SMCs had high spatial distribution, with or

without wind. The results were similar to those of previous studies, where a high degree of spatial

heterogeneity of CH4 emissions were observed even in small, centimeter-scale distances (Lando

et al., 2017; Rachor et al., 2013a). It is worth noting that the results of this experiment do not take

into account the spatial variability caused by heterogeneity of waste composition, and to a certain

extent, heterogeneity of landfill cover. As expected, not only wind significantly decreased

concentrations all over the test cell, but also it shifted the gas to defuse from areas that are further

away from the wind source (closer to y = 0). This observation can be explained in two ways – first,

concentrations measured further downwind of the source possibly included emitted gas from areas

upwind of the measurement point, depending on wind gustiness and small-scale spatial

distribution; and second, CH4 gas could migrate, within the media, to areas that are further away

from the wind source, as many studies have suggested surface wind can affect the gas exchange




                                                    56
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 68 of 125




behaviour through soil-atmosphere boundary (Poulsen and Møldrup, 2006; Pourbakhtiar et al.,

2017).




Figure 4.4 Average CH4 concentration contour plots of test cells with inlet flow rates of 400 and 600
g.m-2.d-1 with (4 m/s) and without wind (0 m/s)



           4.3.2.1.    Temporal variability

     One-minute averaged concentrations were used to analyse and report results of this study.

However, a high degree of temporal variability was observed in SMC recorded in the close vicinity

of the top surface for all tested CH4 flow rates. As an example, the results for 600 g.m-2.d-1 inlet

flow rate in nine inner grid points (B2, B3, B4, C2, C3, C4, D2, D3, D4) are shown in Figure 4.5.

All measurements were done at a constant 5 cm distance off of the test cell surface. The



                                                  57
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 69 of 125




measurements were highly variable with time and ranged from 4 to 1650 ppm for the flow rate of

600 g.m-2.d-1 while higher variations up to 2000 ppm were observed for higher flow rates.

   In order to determine the optimum amount of time to measure concentrations that can lead to a

representative CH4 concentration, CH4 concentrations were measured at multiple occasions and

days, at a single location over a five-minute time period. Table 4.6 summarises the results for three

flow rates of 200 g.m-2.d-1, 300 g.m-2.d-1, and 400 g.m-2.d-1. All measurements were conducted

under calm wind condition. Concentrations were averaged under various time periods ranging

from 10 seconds to five minutes. In all cases, one-minute averages were the shortest time period

in which the average had less than a 10% difference with that of the whole five-minute time period.

Therefore, for all experiments conducted in this study, concentrations were averaged over a one-

minute time period.

Table 4.6 Average CH4 concentrations at a single fixed location for inlet flowrates of 200 g.m-
2 -1
 .d , 300 g.m-2.d-1, and 400 g.m-2.d-1

                  Inlet flow rate           Inlet flow rate           Inlet flow rate
      Time
                  400 g.m-2.d-1            300 g.m-2.d-1             200 g.m-2.d-1
      period
                  C Average                C Average                 C Average
                                    %Error                    %Error                    %Error
                  (ppm)                    (ppm)                     (ppm)
      10 s        150.21            -15%   102.26             -31%   39.53              -14%
      20 s        136.37            -23%   120.47             -19%   57.07              24%
      30 s        145.99            -18%   139.28             -6%    62.27              35%
      40 s        150.34            -15%   141.81             -5%    55.74              21%
      50 s        152.76            -14%   155.02             4%     48.61              5%
      1 min       178.80            1%     157.95             6%     46.23              0%
      2 min       172.49            -3%    183.38             23%    42.98              -7%
      3 min       174.97            -2%    168.32             13%    48.77              6%
      4 min       181.29            2%     158.02             6%     50.89              10%
      5 min       177.63            0%     148.80             0%     46.11              0%




                                                  58
    Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 70 of 125




Figure 4.5 CH4 concentration variability over a 1-minute time period at nine locations for inlet
flow rate of 600 g.m-2.d-1
                                                  59
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 71 of 125




   Lastly, Figure 4.6 shows average CH4 concentration (ppm) versus wind speed (m/s). As it can

be seen, CH4 concentration values were inversely proportional to wind speed, assuming zero wind

speed can be approximated to a near-zero value. This is in agreement with findings of Lando et

al., (2017), where CH4 concentrations were measured under six different CH4 flowrates and four

levels of wind speed. Furthermore, a quick glimpse at the Gaussian steady-state dispersion model

also suggests concentrations are inversely proportional to wind velocity. It is recommended for

further testing under various horizontal velocities to be carried out.


                                                              C vs Wind
                                             500.00
                   CH4 Concentration (ppm)




                                             400.00

                                             300.00

                                             200.00

                                             100.00

                                               0.00
                                                      0   1      2           3     4   5
                                                                Wind Speed (m/s)



Figure 4.6 Average CH4 concentration (ppm) versus wind speed (m/s) using Doehlert
experiments
       4.4.    Effect of Wind on Flux vs. Concentration Relationship

   Average surface CH4 concentrations, CH4 inlet flow rates and wind speed reported in Table 4.1

were used to develop a linear regression model according to Equation 3.2. As observed in Table

4.7, the regression model is statistically significant and aside from the squared wind speed (W_Sq),

all other parameters were insignificant. Moreover, as stated in Section 4.3.2, SMCs are inversely

proportional to wind speed, which means that the assumption of linear relationship between target

variable and independent variable has not been met.




                                                                 60
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 72 of 125




Table 4.7 Model summary and analysis of variance (ANOVA) of linear regression model for the
Doehlert experiments

Model Summaryb
                                    Adjusted R Std. Error of the
 Model       R       R Square                                            Durbin-Watson
                                      Square           Estimate
    1       .982a        .965           .907           24.23950               1.927
                                                     a
                                            ANOVA
        Model          Sum of Squares        df      Mean Square        F            Sig.
          Regression       48819.893         5          9763.979     16.618         .021b
    1      Residual         1762.660         3           587.553
             Total         50582.553         8
a. Dependent Variable: C_Avg
b. Predictors: (Constant), FW, F_Sq, W_Sq, Flow, Wind Speed
Table 4.8 Coefficients of linear regression model for the Doehlert experiments

 Model
                          Unstandardized          Standardized
                           Coefficients           Coefficients         t            Sig.

                          B        Std. Error          Beta
    (Constant)          43.4         92.03                           0.471         0.670
    Flow               0.280          0.28             0.58          0.998         0.392
    Wind Speed          -73.5        36.92            -1.27          -1.99         0.141
    F_Sq               3.9E-5         0.00            0.084          0.160         0.883
    W_Sq                22.1          4.59             1.68          4.807         0.017
    FW                  -0.12         0.06            -1.22          -2.00         0.139


   Given that SMCs are inversely proportional to wind speed, further analysis was made using

1/W instead of W as an independent factor. Summary of the results obtained from this analysis are

provided in Table 4.9. As observed, the interaction effect, F x 1/w, is the only statistically

significant factor. This is aligned with the Gaussian steady-state dispersion model which shows a

direct relationship between surface gas concentration and emission rate divided by wind velocity.




                                                61
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 73 of 125




Table 4.9 Coefficients of linear regression model for the Doehlert experiments with wind inverse
as an independent variable

 Model                 Unstandardized                 Standardized     t        Sig.
                       Coefficients                   Coefficients
                       B            Std. Error        Beta
 (Constant)            6.470        7.449                              0.869    0.449
 Flow                  -0.037       0.023             -0.077           -1.589   0.210
 F_Sq                  3.944E-5     0.000             0.084            1.738    0.181
 Interaction           0.050        0.002             1.362            28.645   0.000
 W_inv                 0.250        8.504             0.013            0.029    0.978
 W_inv_Sq              -0.698       0.813             -0.386           -0.859   0.453

   The significance of the model developed using this method was 0.000 and the adjusted R2 was

0.99. Using the interaction term as the only independent variable resulted in a regression model as

shown in Equation 4.2.


                                                                                        Equation 4.2


   Where C is SMC (ppm), F is methane inflow which is in direct relationship with methane flux

(g.m-2.d-1), and W is wind speed (m.s-1).

   The significance of the model using the interaction term as the only variable is 0.02 and the

adjusted R2 is 0.88. The model presented here as Equation 4.2. was not verified with a set of data

from the lysimeter study, mainly due to the design of the lysimeters which did not allow for

undisturbed wind flow on the surface even under windy conditions. Therefore, this model needs

to be further verified using a separate set of data, ideally from a landfill.

   To the best of the author’s knowledge, there has not been any research study focusing on the

relationship between SMC and flux/wind, and hence a comparison cannot be made between the

results obtained here and other researchers. However, given the strong relationship between the

two observed here, the author suggests using two separate models to predict CH4 concentration

from CH4 flux under calm wind conditions and under mild to moderate wind conditions.

                                                    62
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 74 of 125




       4.5.    Linear Regression Assumptions

   The independency of observations can be tested with the Durbin-Watson test. The test statistic

can vary between 0 and 4, with a value of 2 meaning that the residuals are uncorrelated. A value

greater than 2 indicates that there is a negative correlation between adjacent residuals, whereas a

value below 2 indicates a positive correlation. As a very conservative rule of thumb, values greater

than 3 and less than 1 are problematic (Durbin and Watson, 1971). As it can be seen from Table

4.10, the linear regression resulted in a Durbin-Watson statistic value of 1.6 and 2.0 for regression

through origin and regression with intercept, respectively. Therefore, one could conclude that there

was independence of residuals in both cases.



Table 4.10 Linear regression model summary of OFAT experiments

  Model Summaryc,d

                                                                   Std. Error of   Durbin-

  Model                   R            R2b           Adjusted R2   the Estimate    Watson

  Regression through          0.970a         0.940        0.933        65.453          1.601

  origin (RTO)

  Regression with             0.949a         0.900        0.886        53.626          2.049

  intercept

  a. Predictors: C_Average

  b. For regression through the origin (the no-intercept model), R2 measures the proportion of

  the variability in the dependent variable about the origin explained by regression. This cannot

  be compared to R2 for models which include an intercept.

  c. Dependent Variable: F_Average



                                                     63
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 75 of 125




   No outliers were observed as linear regression analysis in SPSS did not produce any casewise

diagnostic tables. Generally speaking, if a case has a standardized residual more than ±3, an outlier

is detected. Alternatively, Cook’s distance, in which values greater than 4/n (n is the number of

observations) can potentially be identified as influential observations or outliers (Cook and

Weisberg, 1984) can be used. Another statistic measure is the average centered leverage value

which is defined as (k + 1)/n in which k is the number of predictors in the model and n is the

number of participants. Leverage values 2 or 3 times higher than the average could be problematic.

According to Table 4.11, both statistics suggest existence of a point which is highly influential on

the linear regression. However, given that the casewise diagnostics did not indicate any outliers,

experimental points remained as is, until further experiments can be done.



Table 4.11 Cook’s Distance and Maximum Leverage values for the OFAT experiments

                                      Cook’s Distance                  Maximum Leverage

    OFAT experiments                  6.036                            0.575



   The assumption of homoscedasticity indicates that the variance of residuals is constant across

all the values of the independent variable. There are various tests which could measure

homoscedasticity effect including the Breusch-Pagan, White, and Levene’s tests. Values

statistically significantly larger than 1.0 indicate non-constant variance (Casson and Farmer,

2014). Homoscedasticity can also be tested through observation of plots of residuals. As it can be

seen from, the residuals are scattered randomly around the zero line and there is no clear pattern.

Also, according to Figures 4 and 6, the residuals have a relative constant distance from the line of

mean, which means that the errors are homoscedastic.

                                                  64
    Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 76 of 125




Figure 4.7 The standardized residual plot and deviance from mean of the OFAT experiments



    According to Figure 4.8 and Figure 4.9 there is a slight skewness of residuals under regression

through origin, while normal distribtuion of residuals can be observed in the case of regression

with intercept.




Figure 4.8 Normal distribution plots of residuals of the OFAT experiments under regression
through origin (RTO)




                                                  65
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 77 of 125




   Finally, in order to assess the goodness of fit of the linear regression, multiple measures were

used. Table 4.10 summarises the goodness of fit measures for the OFAT experiments in two cases

of regression with intercept and regression through origin. R2 tells us how much of the variance in

outcome is accounted for by the regression model from our sample, the adjusted value (R2adjusted)

tells us how much variance in outcome would be accounted for if the model had been derived from

the population from which the sample was taken. SPSS derives the adjusted R2 using Wherry’s

equation. However, this equation has been criticized because it tells us nothing about how well the

regression model would predict an entirely different set of data. The adjusted R2, derived from




Figure 4.9 Normal distribution plots of residuals of the OFAT experiments under regression with
intercept
Stein’s equation (Stevens, 2002) can show us how well the model is because it accounts for the

changes of degrees of freedom as a result of different number of the model parameters. Although

these two measures are usable to test the goodness of fit of models, they are not sufficient measures

and extreme outliers can inflate R2 and R2adjusted. As discussed previously, there are no extreme

outliers which can inflate the coefficients of determination and hence, these values can accurately

show how well the linear regression performs.



                                                  66
      Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 78 of 125




           5.      CONCLUSION AND RECOMMENDATIONS

           5.1.    Summary and Conclusion

      The correlation between Surface Methane Concentrations (SMC) and methane (CH4) flux was

investigated in a small-scale test cell under partially controlled field set-up. SMCs and CH4 flux

rates in a landfill test cell were measured with CH4 inlet flow rates ranging from 25 to 800 g.m-2.d-
1
    , in an attempt to translate SMC data to quantitative estimates. In addition, it investigated the effect


of wind speed on surface and flux measurements and the correlation between the two. The three

objectives of this study were met, which are discussed in detail:

      Investigate the correlation between surface CH4 concentrations and CH4 flux under various

CH4 flow rates and wind conditions and cross-validate the results

       •   The results confirmed that there exists a linear relationship between SMCs and surface flux

           under calm wind conditions and suggested the latter can be derived from the former. The

           findings were in agreement with those of various researchers who have suggested surface

           flux has a positive and, in some cases, strong relationship with CH4 concentrations.

       •   Cross-validation was performed using an independent data set obtained from a landfill

           biocover lysimeter study and showed a minimum absolute error of 4% and maximum

           absolute error of 121%.

       •   All of the assumptions in linear regression analysis, which should be valid in order to have

           a credible correlation between independent variables and the response, were checked for

           both cases of regression through origin and regression with intercept.



Determine the effect of wind on CH4 concentration measurements and flux chamber measurements




                                                        67
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 79 of 125




   •   The results suggested that SMCs had high spatial distribution, with or without wind, which

       was compatible with the findings of previous studies who observed a high degree of spatial

       heterogeneity of CH4 emissions even in small, centimeter-scale distances.

   •   As expected, wind significantly decreased concentrations all over the test cell and it shifted

       the gas to defuse from areas that are further away from the wind source. The reasons behind

       this observation were attributed to the possible effect of wind on gas exchange behaviour

       through soil-atmosphere boundary, and potential effect of upwind concentrations on the

       downwind measurements. The results also suggested that the presence of wind caused a

       decrease in average measured flux for the majority of inlet flowrates.

   •   A high degree of temporal variability was observed in SMC recorded in the close vicinity

       of the top surface for all tested CH4 flow rates. In all cases, one-minute averages were the

       shortest time period under which average values were more than 90% close to the average

       five-min readings.

   •   CH4 concentration values were found to be inversely proportional to wind speed, assuming

       zero wind speed can be approximated to a near-zero value.



Assess the possibility of using wind speed, in conjunction with CH4 concentration measurements,

to estimate CH4 emission or flux

   •   The results of the regression analysis using the Doehlert design showed that the regression

       model was statistically significant. However, other than squared wind speed (W_Sq), all

       other parameters were insignificant. Given that the SMCs were found to be inversely

       proportional to wind speed, the assumption of linear relationship between target variable

       and independent variable were not met. Therefore, a different approach was taken.


                                                  68
   Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 80 of 125




   •   Under windy conditions, the results of statistical analysis showed that SMCs have a linear

       correlation with flux divided by wind speed with a resulting R2 of 0.88, and other

       independent variables were found to be statistically insignificant. This finding was in

       agreement with the findings of researchers who observed an inverse relationship between

       SMCs and wind speeds.

       5.2.    Recommendations for Future Research

   The work done in this research can be beneficial to expand the understanding of translating

SMCs into surface emissions. Further research can be focused on developing a more physical-

based approach to investigate this correlation with special attention to atmospheric variables such

as wind speed and barometric pressure. It is also recommended that the developed approach should

be further tested in a field-scaled environment to assess the validity of the method to estimate

whole landfill emissions.




                                                 69
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 81 of 125




   6.      REFERENCES

    Abedini, A.R., 2014. Integrated Approach for Accurate Quantification of Methane

 Generation at Municipal Solid Waste Landfills. University of British Columbia.

    Abichou, T., Clark, J., Chanton, J., 2011a. Reporting central tendencies of chamber

 measured surface emission and oxidation. Waste Management 31, 1002–1008.

 https://doi.org/10.1016/J.WASMAN.2010.09.014

    Abichou, T., Clark, J., Chanton, J., 2011b. Reporting central tendencies of chamber

 measured surface emission and oxidation. Waste Management 31, 1002–1008.

 https://doi.org/10.1016/j.wasman.2010.09.014

    Abichou, T., Clark, J., Chanton, J., Hater, G., Green, R., Goldsmith, D., Barlaz, M., Swan,

 N., 2012. A new approach to characterize emission contributions from area sources during

 optical remote sensing technique testing. Journal of the Air and Waste Management

 Association. https://doi.org/10.1080/10962247.2012.716384

    Abichou, T., Mahieu, K., Chanton, J., Romdhane, M., Mansouri, I., 2011c. Scaling

 methane oxidation: From laboratory incubation experiments to landfill cover field conditions.

 Waste Management 31, 978–986.

    Alexander, A., Burklin, C., Singleton, A., 2005. Landfill Gas Emissions Model

 (LandGEM) Version 3.02 User’s Guide 56.

    Babilotte, A., Lagier, T., Fiani, E., Taramini, V., 2010. Fugitive Methane Emissions from

 Landfills: Field Comparison of Five Methods on a French Landfill. Journal of Environmental

 Engineering 136, 777–784. https://doi.org/10.1061/(ASCE)EE.1943-7870.0000260

    Baldocchi, D.D., Hicks, B.B., Meyers, T.P., 1988. Measuring biosphere-atmosphere


                                             70
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 82 of 125




 exchanges of biologically related gases with micrometeorological methods. Ecology 69,

 1331–1340. https://doi.org/10.2307/1941631

    Barlaz, M.A., Ham, R.K., Schaefer, D.M., 1990. Methane production from municipal

 refuse: A review of enhancement techniques and microbial dynamics. Critical Reviews in

 Environmental Control. https://doi.org/10.1080/10643389009388384

    Berry, W., 2011. Understanding Regression Assumptions, Understanding Regression

 Assumptions. https://doi.org/10.4135/9781412986427

    Bezerra, M.A., Santelli, R.E., Oliveira, E.P., Villar, L.S., Escaleira, L.A., 2008. Response

 surface methodology (RSM) as a tool for optimization in analytical chemistry. Talanta.

 https://doi.org/10.1016/j.talanta.2008.05.019

    Bian, R., Xin, D., Chai, X., 2018. Methane emissions from landfill: influence of vegetation

 and weather conditions. Environmental Technology (United Kingdom) 0, 1–9.

 https://doi.org/10.1080/09593330.2018.1439109

    Bogner, J., Spokas, K., 1993. Landfill CH4: Rates, fates, and role in global carbon cycle.

 Chemosphere 26, 369–386. https://doi.org/10.1016/0045-6535(93)90432-5

    Bogner, J., Spokasl, K., Burton, E., 1997. Kinetics of methane oxidation in a landfill cover

 soil: Temporal variations, a whole landfill oxidation experimen, and modelling of Net CH4

 emissions.     Environmental        Science        &    Technology        31,     2504–2514.

 https://doi.org/10.1021/es960909a

    Börjesson, G., Svensson, B.H., 1997. Seasonal and diurnal methane emissions from a

 landfill and their regulation by methane oxidation. Waste Management and Research 15, 33–

 54. https://doi.org/10.1006/wmre.1996.0063


                                               71
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 83 of 125




      Cambaliza, M.O.L., Bogner, J.E., Green, R.B., Shepson, P.B., Harvey, T.A., Spokas,

 K.A., Stirm, B.H., 2017. Field measurements and modeling to resolve m[sup.2] to km[sup.2]

 CH[sub.4] emissions for a complex urban source: An Indiana landfill study.(Research

 article)(Report).           Elementa:       Science        of     the       Anthropocene         5.

 https://doi.org/10.1525/elementa.145

      Casson, R.J., Farmer, L.D.M., 2014. Understanding and checking the assumptions of

 linear regression: A primer for medical researchers. Clinical and Experimental

 Ophthalmology. https://doi.org/10.1111/ceo.12358

      Chanton, J., Powelson, D., Abichou, T., Hater, G., 2008. Improved Field Methods to

 Quantify Methane Oxidation in Landfill Cover Materials using Stabli Carbon Isotopes 42,

 665–670.

      Cook, R.D., Weisberg, S., 1984. Residuals and Influence in Regression., Journal of the

 Royal Statistical Society. Series A (General). https://doi.org/10.2307/2981746

      Czepiel, P.M., Mosher, B., Crill, P.M., Harriss, R.C., 1996. Quantifying the effect of

 oxidation on landfill methane emissions. Journal of Geophysical Research: Atmospheres 101,

 16721–16729. https://doi.org/10.1029/96JD00222

      Denmead, O., 1979. Chamber Systems for Measuring Nitrous Oxide Emission from Soils

 in    the   Field.    Soil      Science    Society    of   America      Journal   -    SSSAJ    43.

 https://doi.org/10.2136/sssaj1979.03615995004300010016x

      Doehlert,      D.H.,      1970.      Uniform     Shell     Designs.     Applied     Statistics.

 https://doi.org/10.2307/2346327

      Durbin, J., Watson, G.S., 1971. Testing for serial correlation in least squares


                                                 72
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 84 of 125




 regression.III. Biometrika. https://doi.org/10.1093/biomet/58.1.1

    El-Fadel, M., Findikakis, A.N., Leckie, J.O., 1997. Gas simulation models for solid waste

 landfills.   Critical   Reviews     in    Environmental      Science    and     Technology.

 https://doi.org/10.1080/10643389709388500

    Enviornment and Climate Change Canada, 2016. National Inventory Report 1990-2014 :

 Greenhouse Gas Sources and Sinks in Canada.

    EPA, 2019. Emission guidelines and compliance times for municipal solid waste landfills.

 [WWW Document]. United States Environmental Protection Agency. https://doi.org/EPA-

 HQ-OAR-2014- 0451, 17, 56-67: 184-192

    Fécil, B., Héroux, M., Guy, C., 2003. Development of a Method for the Measurement of

 Net Methane Emissions From MSW Landfills. 9th International Waste Management and

 Landfill Symposium.

    Ferreira, S.L.C., Bruns, R.E., da Silva, E.G.P., dos Santos, W.N.L., Quintella, C.M.,

 David, J.M., de Andrade, J.B., Breitkreitz, M.C., Jardim, I.C.S.F., Neto, B.B., 2007.

 Statistical designs and response surface techniques for the optimization of chromatographic

 systems. Journal of Chromatography A. https://doi.org/10.1016/j.chroma.2007.03.051

    Feyisetan, L., 2019. Biochemical Methane Potential of Landfilled Municipal Solid Waste

 Using a Non-Slurry Approach. Schulich School of Engineering.

    Figueroa, V.K., Cooper, C.D., Mackie, K.R., Blvd, C.F., 2016. Estimating Landfill

 Greenhouse Gas Emissions from Measured Ambient Methane Concentrations and Dispersion

 Modeling 1–17.

    Fjelsted, L., Christensen, A.G., Larsen, J.E., Kjeldsen, P., Scheutz, C., 2019. Assessment


                                             73
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 85 of 125




 of a landfill methane emission screening method using an unmanned aerial vehicle mounted

 thermal infrared camera – A field study. Waste Management 87, 893–904.

 https://doi.org/10.1016/j.wasman.2018.05.031

    Foster-Wittig, T.A., Thoma, E.D., Green, R.B., Hater, G.R., Swan, N.D., Chanton, J.P.,

 2015. Development of a mobile tracer correlation method for assessment of air emissions

 from landfills and other area sources. Atmospheric Environment 102, 323–330.

 https://doi.org/10.1016/j.atmosenv.2014.12.008

    Fredenslund, A.M., Mønster, J., Kjeldsen, P., Scheutz, C., 2018. Development and

 implementation of a screening method to categorise the greenhouse gas mitigation potential

 of 91 landfills. Waste Management. https://doi.org/10.1016/j.wasman.2018.03.005

    Gao, Z., Desjardins, R.L., Flesch, T.K., 2010. Assessment of the uncertainty of using an

 inverse-dispersion technique to measure methane emissions from animals in a barn and in a

 small pen. Atmospheric Environment. https://doi.org/10.1016/j.atmosenv.2010.05.032

    Gebert, J., Rachor, I., Gröngröft, A., Pfeiffer, E.M., 2011. Temporal variability of soil gas

 composition      in    landfill     covers.        Waste   Management         31,     935–945.

 https://doi.org/10.1016/j.wasman.2010.10.007

    Goldsmith, C.D., Chanton, J., Abichou, T., Swan, N., Green, R., Hater, G., 2012. Methane

 emissions from 20 landfills across the United States using vertical radial plume mapping.

 Journal   of    the   Air    and    Waste     Management       Association     62,    183–197.

 https://doi.org/10.1080/10473289.2011.639480

    Goldsmith, C.D., Hater, G., Green, R., Abichou, T., Barlaz, M., Chanton, J., 2008.

 Comparison of optical remote sensing with static chambers for quantification of landfill


                                               74
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 86 of 125




 methane emission, in: Proceedings of the Global Waste Management Symposium. pp. 7–10.

     Gonzalez-Valencia, R., Magana-Rodriguez, F., Maldonado, E., Salinas, J., Thalasso, F.,

 2015. Detection of hotspots and rapid determination of methane emissions from landfills via

 a   ground-surface     method.       Environmental     Monitoring   and   Assessment     187.

 https://doi.org/10.1007/s10661-014-4083-0

     Green, R.B., Hater, G.R., Thoma, E.D., Dewees, J., Rella, C.W., Crosson, E.R.,

 Goldsmith, C.D., Swan, N., 2010. Methane Emissions Measured at Two California Landfills

 by OTM- 10 and an Acetylene Tracer Method. Global Waste Management Symposium, San

 Antonio, TX.

     Hashmonay, R.A., Yost, M.G., 1999. Innovative Approach for Estimating Fugitive

 Gaseous Fluxes Using Computed Tomography and Remote Optical Sensing Techniques.

 Journal      of       the      Air       and         Waste     Management        Association.

 https://doi.org/10.1080/10473289.1999.10463862

     Haubrichs, R., Widmann, R., 2006. Evaluation of aerated biofilter systems for microbial

 methane oxidation of poor landfill gas. Waste management (New York, N.Y.) 26, 408–16.

 https://doi.org/10.1016/j.wasman.2005.11.008

     Henken-Mellies, W.-U., Schweizer, A., 2011. Long-term performance of landfill covers -

 results of lysimeter test fields in Bavaria (Germany). Waste Management & Research 29, 59–

 68. https://doi.org/10.1177/0734242X10385748

     Herbst, M., Friborg, T., Ringgaard, R., Soegaard, H., 2011. Interpreting the variations in

 atmospheric methane fluxes observed above a restored wetland. Agricultural and Forest

 Meteorology 151, 841–853. https://doi.org/10.1016/j.agrformet.2011.02.002


                                                75
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 87 of 125




    Héroux, M., Guy, C., Millette, D., 2010. A statistical model for landfill surface emissions.

 Journal   of     the   Air   and    Waste     Management       Association    60,    219–228.

 https://doi.org/10.3155/1047-3289.60.2.219

    Hirst, B., Jonathan, P., González del Cueto, F., Randell, D., Kosut, O., 2013. Locating and

 quantifying gas emission sources using remotely obtained concentration data. Atmospheric

 Environment 74, 141–158. https://doi.org/10.1016/j.atmosenv.2013.03.044

    Huber-Humer, M., Gebert, J., Hilger, H., 2008. Biotic systems to mitigate landfill methane

 emissions. Waste Management and Research. https://doi.org/10.1177/0734242X07087977

    Innocenti, F., Robinson, R., Gardiner, T., Finlayson, A., Connor, A., 2017. Differential

 absorption Lidar (DIAL) measurements of landfill methane emissions. Remote Sensing 9.

 https://doi.org/10.3390/rs9090953

    IPCC, 2013. Climate Change 2013 – The Physical Science Basis: Working Group I

 Contribution to the Fifth Assessment Report of the Intergovernmental Panel on Climate

 Change.        Cambridge     University      Press,      Cambridge.       https://doi.org/DOI:

 10.1017/CBO9781107415324

    IPCC, C.C., 2007. The physical science basis.

    Jalilzadeh, H., 2019. Field Performance and Water Balance Predictions of

 Evapotranspirative Landfill Biocovers. University of Calgary. University of Calgary.

    Jayasinghe, P., 2013. Enhancing Gas Production in Landfill Bioreactors by Leachate

 Augmentation.

    Kanemasu T., E., Powers L., W., Sij W., J., 1974. FIELD CHAMBER

 MEASUREMENTS OF CO2 FLUX FROM SOIL SURFACE. Soil Science 118, 233–237.


                                              76
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 88 of 125




    Kormi, T., Mhadhebi, S., Bel Hadj Ali, N., Abichou, T., Green, R., 2018. Estimation of

 fugitive landfill methane emissions using surface emission monitoring and Genetic

 Algorithms        optimization.        Waste        Management             72,    313–328.

 https://doi.org/10.1016/j.wasman.2016.11.024

    La, H., Hettiaratchi, J.P.A., Achari, G., Dunfield, P.F., 2018. Biofiltration of methane.

 Bioresource technology 268, 759–772. https://doi.org/10.1016/j.biortech.2018.07.043

    Lando, A.T., Nakayama, H., Shimaoka, T., 2017. Application of portable gas detector in

 point and scanning method to estimate spatial distribution of methane emission in landfill.

 Waste Management 59, 255–266. https://doi.org/10.1016/j.wasman.2016.10.033

    Lawrence, N.S., 2006. Analytical detection methodologies for methane and related

 hydrocarbons, in: Talanta. https://doi.org/10.1016/j.talanta.2005.10.005

    Lewis, A.W., Yuen, S.T.S., Smith, A.J.R., 2003. Detection of gas leakage from landfills

 using infrared thermography--applicability and limitations. Waste management & research :

 the journal of the International Solid Wastes and Public Cleansing Association, ISWA 21,

 436–47. https://doi.org/10.1177/0734242X0302100506

    Mancebo, U., Hettiaratchi, J.P.A., Kumar, S., Hurtado, O., 2012. The use of

 methanotrophic applications to control of fugitive methane emissions from the

 biodegradation of organic waste. International Journal of Environmental Technology and

 Management 15, 524. https://doi.org/10.1504/IJETM.2012.049243

    Mønster, J., Kjeldsen, P., Scheutz, C., 2019. Methodologies for measuring fugitive

 methane emissions from landfills – A review. Waste Management 87, 835–859.

 https://doi.org/10.1016/j.wasman.2018.12.047


                                             77
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 89 of 125




    Mønster, J., Samuelsson, J., Kjeldsen, P., Scheutz, C., 2015. Quantification of methane

 emissions from 15 Danish landfills using the mobile tracer dispersion method. Waste

 Management 35, 177–186. https://doi.org/10.1016/j.wasman.2014.09.006

    Mønster, J.G., Samuelsson, J., Kjeldsen, P., Rella, C.W., Scheutz, C., 2014. Quantifying

 methane emission from fugitive sources by combining tracer release and downwind

 measurements - A sensitivity analysis based on multiple field surveys. Waste Management

 34, 1416–1428. https://doi.org/10.1016/j.wasman.2014.03.025

    Ohlsson, K.E.A., 2009. Reduction of bias in static closed chamber measurement of d13C

 in soil CO2 efflu. Rapid Communications in Mass Spectrometry.

    Peischl, J., Ryerson, T.B., Brioude, J., Aikin, K.C., Andrews, A.E., Atlas, E., Blake, D.,

 Daube, B.C., De Gouw, J.A., Dlugokencky, E., Frost, G.J., Gentner, D.R., Gilman, J.B.,

 Goldstein, A.H., Harley, R.A., Holloway, J.S., Kofler, J., Kuster, W.C., Lang, P.M., Novelli,

 P.C., Santoni, G.W., Trainer, M., Wofsy, S.C., Parrish, D.D., 2013. Quantifying sources of

 methane using light alkanes in the Los Angeles basin, California. Journal of Geophysical

 Research Atmospheres. https://doi.org/10.1002/jgrd.50413

    Perera, L. a. K., 2001. Gas Migration.

    Poulsen, T.G., Møldrup, P., 2006. Evaluating effects of wind-induced pressure

 fluctuations on soil-atmosphere gas exchange at a landfill using stochastic modelling. Waste

 Management and Research. https://doi.org/10.1177/0734242X06066363

    Pourbakhtiar, A., Poulsen, T.G., Wilkinson, S., Bridge, J.W., 2017. Effect of wind

 turbulence on gas transport in porous media: experimental method and preliminary results.

 European Journal of Soil Science 68, 48–56. https://doi.org/10.1111/ejss.12403


                                             78
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 90 of 125




    Rachor, I.M., Gebert, J., Gröngröft, A., Pfeiffer, E.-M., 2013a. Variability of methane

 emissions from an old landfill over different time-scales. European Journal of Soil Science

 64, 16–26. https://doi.org/10.1111/ejss.12004

    Rachor, I.M., Gebert, J., Gröngröft, A., Pfeiffer, E.M., 2013b. Variability of methane

 emissions from an old landfill over different time-scales. European Journal of Soil Science

 64, 16–26. https://doi.org/10.1111/ejss.12004

    Ravishankara, A.R., Solomon, S., Turnipseed, A.A., Warren, R.F., 1993. Atmospheric

 lifetimes     of   long-lived     halogenated      species.    Science     259,     194–199.

 https://doi.org/10.1126/science.259.5092.194

    Riddick, S.N., Hancock, B.R., Robinson, A.D., Connors, S., Davies, S., Allen, G., Pitt, J.,

 Harris, N.R.P., 2018. Development of a low-maintenance measurement approach to

 continuously estimate methane emissions: A case study. Waste Management 73, 210–219.

 https://doi.org/10.1016/j.wasman.2016.12.006

    Robinson, R., Gardiner, T., Innocenti, F., Woods, P., Coleman, M., 2011. Infrared

 differential absorption Lidar (DIAL) measurements of hydrocarbon emissions. Journal of

 Environmental Monitoring. https://doi.org/10.1039/c0em00312c

    Scharff, H., Jacobs, J., 2006. Applying guidance for methane emission estimation for

 landfills. Waste Management 26, 417–429. https://doi.org/10.1016/j.wasman.2005.11.015

    Scheutz, C., Kjeldsen, P., 2019. Guidelines for landfill gas emission monitoring using the

 tracer      gas    dispersion    method.        Waste     Management        85,     351–360.

 https://doi.org/10.1016/j.wasman.2018.12.048

    Scheutz, C., Kjeldsen, P., Bogner, J.E., De Visscher, A., Gebert, J., Hilger, H.A., Huber-


                                             79
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 91 of 125




 Humer, M., Spokas, K., 2009. Microbial methane oxidation processes and technologies for

 mitigation of landfill gas emissions. Waste Management and Research 27, 409–455.

 https://doi.org/10.1177/0734242X09339325

    Scheutz, C., Samuelsson, J., Fredenslund, A.M., Kjeldsen, P., 2011. Quantification of

 multiple methane emission sources at landfills using a double tracer technique. Waste

 Management. https://doi.org/10.1016/j.wasman.2011.01.015

    Schroth, M.H., Eugster, W., Gómez, K.E., Gonzalez-Gil, G., Niklaus, P.A., Oester, P.,

 2012. Above- and below-ground methane fluxes and methanotrophic activity in a landfill-

 cover soil. Waste Management 32, 879–889. https://doi.org/10.1016/j.wasman.2011.11.003

    Todd, R.W., Cole, N.A., Casey, K.D., Hagevoort, R., Auvermann, B.W., 2011. Methane

 emissions from southern High Plains dairy wastewater lagoons in the summer. Animal Feed

 Science             and             Technology              166–167,              575–580.

 https://doi.org/10.1016/j.anifeedsci.2011.04.040

    Tränkler, J., Visvanathan, C., Kuruparan, P., Tubtimthai, O., 2005. Influence of tropical

 seasonal variations on landfill leachate characteristics—Results from lysimeter studies.

 Waste Management 25, 1013–1020. https://doi.org/10.1016/j.wasman.2005.05.004

    U.S. Environmental Protection Agency, 2006. EPA Test Method (OTM-10): Optical

 Remote Sensing for Emission Characterization from Non-Point Sources. Research Triangle

 Park, NC: Technology Transfer Network Emission Measurement Center.

    Witek-Krowiak, A., Chojnacka, K., Podstawczyk, D., Dawiec, A., Pokomeda, K., 2014.

 Application of response surface methodology and artificial neural network methods in

 modelling and optimization of biosorption process. Bioresource Technology 160, 150–160.


                                             80
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 92 of 125




 https://doi.org/10.1016/j.biortech.2014.01.021

    Wuebbles, D.J., Hayhoe, K., 2002. Atmospheric methane and global change. Earth-

 Science Reviews. https://doi.org/10.1016/S0012-8252(01)00062-9

    Xu, L., Lin, X., Amen, J., Welding, K., McDermitt, D., 2014. Impact of changes in

 barometric      pressure       on      landfill            methane      emission        679–695.

 https://doi.org/10.1002/2013GB004571.Received

    Zolgharnein, J., Shahmoradi, A., Ghasemi, J.B., 2013. Comparative study of Box-

 Behnken, central composite, and Doehlert matrix for multivariate optimization of Pb (II)

 adsorption     onto     Robinia      tree        leaves.      Journal    of        Chemometrics.

 https://doi.org/10.1002/cem.2487




                                             81
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 93 of 125




APPENDIX A: CH4 Concentration Contour Plots




                                     82
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 94 of 125




                                   83
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 95 of 125




                                   84
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 96 of 125




                                   85
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 97 of 125




                                   86
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 98 of 125




                                   87
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 99 of 125




                                   88
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 100 of 125




                                   89
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 101 of 125




APPENDIX B: CH4 Flux measurements Contour Plots




                                    90
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 102 of 125




                                   91
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 103 of 125




                                   92
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 104 of 125




                                   93
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 105 of 125




                                   94
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 106 of 125




                                   95
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 107 of 125




                                   96
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 108 of 125




                                   97
Case 2:19-cv-11133-SM-MBN Document 209-5 Filed 10/04/21 Page 109 of 125




APPENDIX C: Copyright Permissions




                                    98
4/29/2020      Case 2:19-cv-11133-SM-MBN Document   209-5
                                              RightsLink        Filed
                                                         Printable       10/04/21 Page 110 of 125
                                                                   License



  ELSEVIER LICENSE
  TERMS AND CONDITIONS


  Apr 29, 2020




  This Agreement between Erfan Irandoost ("You") and Elsevier ("Elsevier") consists of your
  license details and the terms and conditions provided by Elsevier and Copyright Clearance
  Center.


  License Number                       4818500264707


  License date                         Apr 29, 2020


  Licensed Content
                                       Elsevier
  Publisher


  Licensed Content
                                       Waste Management
  Publication


                                       Reporting central tendencies of chamber measured surface
  Licensed Content Title
                                       emission and oxidation


  Licensed Content Author              Tarek Abichou,Jeremy Clark,Jeffery Chanton


  Licensed Content Date                May 1, 2011


  Licensed Content Volume 31


  Licensed Content Issue               5


  Licensed Content Pages               7


  Start Page                           1002


  End Page                             1008


https://s100.copyright.com/AppDispatchServlet                                                       1/8
4/29/2020  Case 2:19-cv-11133-SM-MBN Document             209-5
                                                    RightsLink        Filed
                                                               Printable       10/04/21 Page 111 of 125
                                                                         License

  Type of Use             reuse in a thesis/dissertation


  Portion                              figures/tables/illustrations


  Number of
                               1
  figures/tables/illustrations


  Format                               electronic


  Are you the author of this
                             No
  Elsevier article?


  Will you be translating?             No


                                       An Investigation on Methane Flux in Landfills and Correlation
  Title
                                       with Surface Methane Concentration


  Institution name                     University of Calgary


  Expected presentation date Apr 2020


  Portions                             Figure 1


                                       Erfan Irandoost
                                       101- 3912 Stanley Rd SW

  Requestor Location
                                       Calgary, AB T2S2P3
                                       Canada
                                       Attn: Erfan Irandoost


  Publisher Tax ID                     GB 494 6272 12


  Total                                0.00 CAD


  Terms and Conditions


                                                  INTRODUCTION


https://s100.copyright.com/AppDispatchServlet                                                             2/8
4/29/2020   Case 2:19-cv-11133-SM-MBN Document                209-5
                                                        RightsLink        Filed
                                                                   Printable       10/04/21 Page 112 of 125
                                                                             License

  1. The publisher for this copyrighted material is Elsevier. By clicking "accept" in connection
  with completing this licensing transaction, you agree that the following terms and conditions
  apply to this transaction (along with the Billing and Payment terms and conditions
  established by Copyright Clearance Center, Inc. ("CCC"), at the time that you opened your
  Rightslink account and that are available at any time at http://myaccount.copyright.com).

                                                GENERAL TERMS

  2. Elsevier hereby grants you permission to reproduce the aforementioned material subject to
  the terms and conditions indicated.

  3. Acknowledgement: If any part of the material to be used (for example, figures) has
  appeared in our publication with credit or acknowledgement to another source, permission
  must also be sought from that source. If such permission is not obtained then that material
  may not be included in your publication/copies. Suitable acknowledgement to the source
  must be made, either as a footnote or in a reference list at the end of your publication, as
  follows:

  "Reprinted from Publication title, Vol /edition number, Author(s), Title of article / title of
  chapter, Pages No., Copyright (Year), with permission from Elsevier [OR APPLICABLE
  SOCIETY COPYRIGHT OWNER]." Also Lancet special credit - "Reprinted from The
  Lancet, Vol. number, Author(s), Title of article, Pages No., Copyright (Year), with
  permission from Elsevier."

  4. Reproduction of this material is confined to the purpose and/or media for which
  permission is hereby given.

  5. Altering/Modifying Material: Not Permitted. However figures and illustrations may be
  altered/adapted minimally to serve your work. Any other abbreviations, additions, deletions
  and/or any other alterations shall be made only with prior written authorization of Elsevier
  Ltd. (Please contact Elsevier at permissions@elsevier.com). No modifications can be made
  to any Lancet figures/tables and they must be reproduced in full.

  6. If the permission fee for the requested use of our material is waived in this instance,
  please be advised that your future requests for Elsevier materials may attract a fee.

  7. Reservation of Rights: Publisher reserves all rights not specifically granted in the
  combination of (i) the license details provided by you and accepted in the course of this
  licensing transaction, (ii) these terms and conditions and (iii) CCC's Billing and Payment
  terms and conditions.

  8. License Contingent Upon Payment: While you may exercise the rights licensed
  immediately upon issuance of the license at the end of the licensing process for the
  transaction, provided that you have disclosed complete and accurate details of your proposed
  use, no license is finally effective unless and until full payment is received from you (either
  by publisher or by CCC) as provided in CCC's Billing and Payment terms and conditions. If
  full payment is not received on a timely basis, then any license preliminarily granted shall be
  deemed automatically revoked and shall be void as if never granted. Further, in the event
  that you breach any of these terms and conditions or any of CCC's Billing and Payment
  terms and conditions, the license is automatically revoked and shall be void as if never
  granted. Use of materials as described in a revoked license, as well as any use of the
  materials beyond the scope of an unrevoked license, may constitute copyright infringement
  and publisher reserves the right to take any and all action to protect its copyright in the
  materials.

https://s100.copyright.com/AppDispatchServlet                                                                 3/8
4/29/2020   Case 2:19-cv-11133-SM-MBN Document              209-5
                                                      RightsLink        Filed
                                                                 Printable       10/04/21 Page 113 of 125
                                                                           License

  9. Warranties: Publisher makes no representations or warranties with respect to the licensed
  material.

  10. Indemnity: You hereby indemnify and agree to hold harmless publisher and CCC, and
  their respective officers, directors, employees and agents, from and against any and all
  claims arising out of your use of the licensed material other than as specifically authorized
  pursuant to this license.

  11. No Transfer of License: This license is personal to you and may not be sublicensed,
  assigned, or transferred by you to any other person without publisher's written permission.

  12. No Amendment Except in Writing: This license may not be amended except in a writing
  signed by both parties (or, in the case of publisher, by CCC on publisher's behalf).

  13. Objection to Contrary Terms: Publisher hereby objects to any terms contained in any
  purchase order, acknowledgment, check endorsement or other writing prepared by you,
  which terms are inconsistent with these terms and conditions or CCC's Billing and Payment
  terms and conditions. These terms and conditions, together with CCC's Billing and Payment
  terms and conditions (which are incorporated herein), comprise the entire agreement
  between you and publisher (and CCC) concerning this licensing transaction. In the event of
  any conflict between your obligations established by these terms and conditions and those
  established by CCC's Billing and Payment terms and conditions, these terms and conditions
  shall control.

  14. Revocation: Elsevier or Copyright Clearance Center may deny the permissions described
  in this License at their sole discretion, for any reason or no reason, with a full refund payable
  to you. Notice of such denial will be made using the contact information provided by you.
  Failure to receive such notice will not alter or invalidate the denial. In no event will Elsevier
  or Copyright Clearance Center be responsible or liable for any costs, expenses or damage
  incurred by you as a result of a denial of your permission request, other than a refund of the
  amount(s) paid by you to Elsevier and/or Copyright Clearance Center for denied
  permissions.

                                                LIMITED LICENSE

  The following terms and conditions apply only to specific license types:

  15. Translation: This permission is granted for non-exclusive world English rights only
  unless your license was granted for translation rights. If you licensed translation rights you
  may only translate this content into the languages you requested. A professional translator
  must perform all translations and reproduce the content word for word preserving the
  integrity of the article.

  16. Posting licensed content on any Website: The following terms and conditions apply as
  follows: Licensing material from an Elsevier journal: All content posted to the web site must
  maintain the copyright information line on the bottom of each image; A hyper-text must be
  included to the Homepage of the journal from which you are licensing at
  http://www.sciencedirect.com/science/journal/xxxxx or the Elsevier homepage for books at
  http://www.elsevier.com; Central Storage: This license does not include permission for a
  scanned version of the material to be stored in a central repository such as that provided by
  Heron/XanEdu.

  Licensing material from an Elsevier book: A hyper-text link must be included to the Elsevier
  homepage at http://www.elsevier.com . All content posted to the web site must maintain the
  copyright information line on the bottom of each image.
https://s100.copyright.com/AppDispatchServlet                                                               4/8
4/29/2020       Case 2:19-cv-11133-SM-MBN Document   209-5
                                               RightsLink        Filed
                                                          Printable       10/04/21 Page 114 of 125
                                                                    License


  Posting licensed content on Electronic reserve: In addition to the above the following
  clauses are applicable: The web site must be password-protected and made available only to
  bona fide students registered on a relevant course. This permission is granted for 1 year only.
  You may obtain a new license for future website posting.

  17. For journal authors: the following clauses are applicable in addition to the above:

  Preprints:

  A preprint is an author's own write-up of research results and analysis, it has not been peer-
  reviewed, nor has it had any other value added to it by a publisher (such as formatting,
  copyright, technical enhancement etc.).

  Authors can share their preprints anywhere at any time. Preprints should not be added to or
  enhanced in any way in order to appear more like, or to substitute for, the final versions of
  articles however authors can update their preprints on arXiv or RePEc with their Accepted
  Author Manuscript (see below).

  If accepted for publication, we encourage authors to link from the preprint to their formal
  publication via its DOI. Millions of researchers have access to the formal publications on
  ScienceDirect, and so links will help users to find, access, cite and use the best available
  version. Please note that Cell Press, The Lancet and some society-owned have different
  preprint policies. Information on these policies is available on the journal homepage.

  Accepted Author Manuscripts: An accepted author manuscript is the manuscript of an
  article that has been accepted for publication and which typically includes author-
  incorporated changes suggested during submission, peer review and editor-author
  communications.

  Authors can share their accepted author manuscript:

            immediately
                   via their non-commercial person homepage or blog
                   by updating a preprint in arXiv or RePEc with the accepted manuscript
                   via their research institute or institutional repository for internal institutional
                   uses or as part of an invitation-only research collaboration work-group
                   directly by providing copies to their students or to research collaborators for
                   their personal use
                   for private scholarly sharing as part of an invitation-only work group on
                   commercial sites with which Elsevier has an agreement
            After the embargo period
                   via non-commercial hosting platforms such as their institutional repository
                   via commercial sites with which Elsevier has an agreement

  In all cases accepted manuscripts should:

            link to the formal publication via its DOI
            bear a CC-BY-NC-ND license - this is easy to do
            if aggregated with other manuscripts, for example in a repository or other site, be
            shared in alignment with our hosting policy not be added to or enhanced in any way to
            appear more like, or to substitute for, the published journal article.

  Published journal article (JPA): A published journal article (PJA) is the definitive final
  record of published research that appears or will appear in the journal and embodies all
https://s100.copyright.com/AppDispatchServlet                                                            5/8
4/29/2020   Case 2:19-cv-11133-SM-MBN Document                209-5
                                                        RightsLink        Filed
                                                                   Printable       10/04/21 Page 115 of 125
                                                                             License

  value-adding publishing activities including peer review co-ordination, copy-editing,
  formatting, (if relevant) pagination and online enrichment.

  Policies for sharing publishing journal articles differ for subscription and gold open access
  articles:

  Subscription Articles: If you are an author, please share a link to your article rather than the
  full-text. Millions of researchers have access to the formal publications on ScienceDirect,
  and so links will help your users to find, access, cite, and use the best available version.

  Theses and dissertations which contain embedded PJAs as part of the formal submission can
  be posted publicly by the awarding institution with DOI links back to the formal
  publications on ScienceDirect.

  If you are affiliated with a library that subscribes to ScienceDirect you have additional
  private sharing rights for others' research accessed under that agreement. This includes use
  for classroom teaching and internal training at the institution (including use in course packs
  and courseware programs), and inclusion of the article for grant funding purposes.

  Gold Open Access Articles: May be shared according to the author-selected end-user
  license and should contain a CrossMark logo, the end user license, and a DOI link to the
  formal publication on ScienceDirect.

  Please refer to Elsevier's posting policy for further information.

  18. For book authors the following clauses are applicable in addition to the above:
  Authors are permitted to place a brief summary of their work online only. You are not
  allowed to download and post the published electronic version of your chapter, nor may you
  scan the printed edition to create an electronic version. Posting to a repository: Authors are
  permitted to post a summary of their chapter only in their institution's repository.

  19. Thesis/Dissertation: If your license is for use in a thesis/dissertation your thesis may be
  submitted to your institution in either print or electronic form. Should your thesis be
  published commercially, please reapply for permission. These requirements include
  permission for the Library and Archives of Canada to supply single copies, on demand, of
  the complete thesis and include permission for Proquest/UMI to supply single copies, on
  demand, of the complete thesis. Should your thesis be published commercially, please
  reapply for permission. Theses and dissertations which contain embedded PJAs as part of
  the formal submission can be posted publicly by the awarding institution with DOI links
  back to the formal publications on ScienceDirect.



  Elsevier Open Access Terms and Conditions

  You can publish open access with Elsevier in hundreds of open access journals or in nearly
  2000 established subscription journals that support open access publishing. Permitted third
  party re-use of these open access articles is defined by the author's choice of Creative
  Commons user license. See our open access license policy for more information.

  Terms & Conditions applicable to all Open Access articles published with Elsevier:

  Any reuse of the article must not represent the author as endorsing the adaptation of the
  article nor should the article be modified in such a way as to damage the author's honour or
  reputation. If any changes have been made, such changes must be clearly indicated.

https://s100.copyright.com/AppDispatchServlet                                                                 6/8
4/29/2020   Case 2:19-cv-11133-SM-MBN Document               209-5
                                                       RightsLink        Filed
                                                                  Printable       10/04/21 Page 116 of 125
                                                                            License

  The author(s) must be appropriately credited and we ask that you include the end user
  license and a DOI link to the formal publication on ScienceDirect.

  If any part of the material to be used (for example, figures) has appeared in our publication
  with credit or acknowledgement to another source it is the responsibility of the user to
  ensure their reuse complies with the terms and conditions determined by the rights holder.

  Additional Terms & Conditions applicable to each Creative Commons user license:

  CC BY: The CC-BY license allows users to copy, to create extracts, abstracts and new
  works from the Article, to alter and revise the Article and to make commercial use of the
  Article (including reuse and/or resale of the Article by commercial entities), provided the
  user gives appropriate credit (with a link to the formal publication through the relevant
  DOI), provides a link to the license, indicates if changes were made and the licensor is not
  represented as endorsing the use made of the work. The full details of the license are
  available at http://creativecommons.org/licenses/by/4.0.

  CC BY NC SA: The CC BY-NC-SA license allows users to copy, to create extracts,
  abstracts and new works from the Article, to alter and revise the Article, provided this is not
  done for commercial purposes, and that the user gives appropriate credit (with a link to the
  formal publication through the relevant DOI), provides a link to the license, indicates if
  changes were made and the licensor is not represented as endorsing the use made of the
  work. Further, any new works must be made available on the same conditions. The full
  details of the license are available at http://creativecommons.org/licenses/by-nc-sa/4.0.

  CC BY NC ND: The CC BY-NC-ND license allows users to copy and distribute the Article,
  provided this is not done for commercial purposes and further does not permit distribution of
  the Article if it is changed or edited in any way, and provided the user gives appropriate
  credit (with a link to the formal publication through the relevant DOI), provides a link to the
  license, and that the licensor is not represented as endorsing the use made of the work. The
  full details of the license are available at http://creativecommons.org/licenses/by-nc-nd/4.0.
  Any commercial reuse of Open Access articles published with a CC BY NC SA or CC BY
  NC ND license requires permission from Elsevier and will be subject to a fee.

  Commercial reuse includes:

            Associating advertising with the full text of the Article
            Charging fees for document delivery or access
            Article aggregation
            Systematic distribution via e-mail lists or share buttons

  Posting or linking by commercial companies for use by customers of those companies.



  20. Other Conditions:



  v1.9


  Questions? customercare@copyright.com or +1-855-239-3415 (toll free in the US) or
  +1-978-646-2777.


https://s100.copyright.com/AppDispatchServlet                                                                7/8
4/29/2020      Case 2:19-cv-11133-SM-MBN Document   209-5
                                              RightsLink        Filed
                                                         Printable       10/04/21 Page 117 of 125
                                                                   License




https://s100.copyright.com/AppDispatchServlet                                                       8/8
4/29/2020      Case 2:19-cv-11133-SM-MBN Document   209-5
                                              RightsLink        Filed
                                                         Printable       10/04/21 Page 118 of 125
                                                                   License



  ELSEVIER LICENSE
  TERMS AND CONDITIONS


  Apr 29, 2020




  This Agreement between Erfan Irandoost ("You") and Elsevier ("Elsevier") consists of your
  license details and the terms and conditions provided by Elsevier and Copyright Clearance
  Center.


  License Number                     4818500459096


  License date                       Apr 29, 2020


  Licensed Content
                                     Elsevier
  Publisher


  Licensed Content
                                     Waste Management
  Publication


                                     Application of portable gas detector in point and scanning method
  Licensed Content Title
                                     to estimate spatial distribution of methane emission in landfill


  Licensed Content Author Asiyanthi Tabran Lando,Hirofumi Nakayama,Takayuki Shimaoka


  Licensed Content Date              Jan 1, 2017


  Licensed Content Volume 59


  Licensed Content Issue             n/a


  Licensed Content Pages             12


  Start Page                         255


  End Page                           266


https://s100.copyright.com/AppDispatchServlet                                                            1/8
4/29/2020  Case 2:19-cv-11133-SM-MBN Document              209-5
                                                     RightsLink        Filed
                                                                Printable       10/04/21 Page 119 of 125
                                                                          License

  Type of Use            reuse in a thesis/dissertation


  Portion                            figures/tables/illustrations


  Number of
                               2
  figures/tables/illustrations


  Format                             electronic


  Are you the author of this
                             No
  Elsevier article?


  Will you be translating?           No


                                     An Investigation on Methane Flux in Landfills and Correlation
  Title
                                     with Surface Methane Concentration


  Institution name                   University of Calgary


  Expected presentation
                                     Apr 2020
  date


  Portions                           Figure 11, Figure 15


                                     Erfan Irandoost
                                     101- 3912 Stanley Rd SW

  Requestor Location
                                     Calgary, AB T2S2P3
                                     Canada
                                     Attn: Erfan Irandoost


  Publisher Tax ID                   GB 494 6272 12


  Total                              0.00 CAD


  Terms and Conditions


                                                INTRODUCTION

https://s100.copyright.com/AppDispatchServlet                                                              2/8
4/29/2020   Case 2:19-cv-11133-SM-MBN Document                209-5
                                                        RightsLink        Filed
                                                                   Printable       10/04/21 Page 120 of 125
                                                                             License

  1. The publisher for this copyrighted material is Elsevier. By clicking "accept" in connection
  with completing this licensing transaction, you agree that the following terms and conditions
  apply to this transaction (along with the Billing and Payment terms and conditions
  established by Copyright Clearance Center, Inc. ("CCC"), at the time that you opened your
  Rightslink account and that are available at any time at http://myaccount.copyright.com).

                                                GENERAL TERMS

  2. Elsevier hereby grants you permission to reproduce the aforementioned material subject to
  the terms and conditions indicated.

  3. Acknowledgement: If any part of the material to be used (for example, figures) has
  appeared in our publication with credit or acknowledgement to another source, permission
  must also be sought from that source. If such permission is not obtained then that material
  may not be included in your publication/copies. Suitable acknowledgement to the source
  must be made, either as a footnote or in a reference list at the end of your publication, as
  follows:

  "Reprinted from Publication title, Vol /edition number, Author(s), Title of article / title of
  chapter, Pages No., Copyright (Year), with permission from Elsevier [OR APPLICABLE
  SOCIETY COPYRIGHT OWNER]." Also Lancet special credit - "Reprinted from The
  Lancet, Vol. number, Author(s), Title of article, Pages No., Copyright (Year), with
  permission from Elsevier."

  4. Reproduction of this material is confined to the purpose and/or media for which
  permission is hereby given.

  5. Altering/Modifying Material: Not Permitted. However figures and illustrations may be
  altered/adapted minimally to serve your work. Any other abbreviations, additions, deletions
  and/or any other alterations shall be made only with prior written authorization of Elsevier
  Ltd. (Please contact Elsevier at permissions@elsevier.com). No modifications can be made
  to any Lancet figures/tables and they must be reproduced in full.

  6. If the permission fee for the requested use of our material is waived in this instance,
  please be advised that your future requests for Elsevier materials may attract a fee.

  7. Reservation of Rights: Publisher reserves all rights not specifically granted in the
  combination of (i) the license details provided by you and accepted in the course of this
  licensing transaction, (ii) these terms and conditions and (iii) CCC's Billing and Payment
  terms and conditions.

  8. License Contingent Upon Payment: While you may exercise the rights licensed
  immediately upon issuance of the license at the end of the licensing process for the
  transaction, provided that you have disclosed complete and accurate details of your proposed
  use, no license is finally effective unless and until full payment is received from you (either
  by publisher or by CCC) as provided in CCC's Billing and Payment terms and conditions. If
  full payment is not received on a timely basis, then any license preliminarily granted shall be
  deemed automatically revoked and shall be void as if never granted. Further, in the event
  that you breach any of these terms and conditions or any of CCC's Billing and Payment
  terms and conditions, the license is automatically revoked and shall be void as if never
  granted. Use of materials as described in a revoked license, as well as any use of the
  materials beyond the scope of an unrevoked license, may constitute copyright infringement
  and publisher reserves the right to take any and all action to protect its copyright in the
  materials.

https://s100.copyright.com/AppDispatchServlet                                                                 3/8
4/29/2020   Case 2:19-cv-11133-SM-MBN Document              209-5
                                                      RightsLink        Filed
                                                                 Printable       10/04/21 Page 121 of 125
                                                                           License

  9. Warranties: Publisher makes no representations or warranties with respect to the licensed
  material.

  10. Indemnity: You hereby indemnify and agree to hold harmless publisher and CCC, and
  their respective officers, directors, employees and agents, from and against any and all
  claims arising out of your use of the licensed material other than as specifically authorized
  pursuant to this license.

  11. No Transfer of License: This license is personal to you and may not be sublicensed,
  assigned, or transferred by you to any other person without publisher's written permission.

  12. No Amendment Except in Writing: This license may not be amended except in a writing
  signed by both parties (or, in the case of publisher, by CCC on publisher's behalf).

  13. Objection to Contrary Terms: Publisher hereby objects to any terms contained in any
  purchase order, acknowledgment, check endorsement or other writing prepared by you,
  which terms are inconsistent with these terms and conditions or CCC's Billing and Payment
  terms and conditions. These terms and conditions, together with CCC's Billing and Payment
  terms and conditions (which are incorporated herein), comprise the entire agreement
  between you and publisher (and CCC) concerning this licensing transaction. In the event of
  any conflict between your obligations established by these terms and conditions and those
  established by CCC's Billing and Payment terms and conditions, these terms and conditions
  shall control.

  14. Revocation: Elsevier or Copyright Clearance Center may deny the permissions described
  in this License at their sole discretion, for any reason or no reason, with a full refund payable
  to you. Notice of such denial will be made using the contact information provided by you.
  Failure to receive such notice will not alter or invalidate the denial. In no event will Elsevier
  or Copyright Clearance Center be responsible or liable for any costs, expenses or damage
  incurred by you as a result of a denial of your permission request, other than a refund of the
  amount(s) paid by you to Elsevier and/or Copyright Clearance Center for denied
  permissions.

                                                LIMITED LICENSE

  The following terms and conditions apply only to specific license types:

  15. Translation: This permission is granted for non-exclusive world English rights only
  unless your license was granted for translation rights. If you licensed translation rights you
  may only translate this content into the languages you requested. A professional translator
  must perform all translations and reproduce the content word for word preserving the
  integrity of the article.

  16. Posting licensed content on any Website: The following terms and conditions apply as
  follows: Licensing material from an Elsevier journal: All content posted to the web site must
  maintain the copyright information line on the bottom of each image; A hyper-text must be
  included to the Homepage of the journal from which you are licensing at
  http://www.sciencedirect.com/science/journal/xxxxx or the Elsevier homepage for books at
  http://www.elsevier.com; Central Storage: This license does not include permission for a
  scanned version of the material to be stored in a central repository such as that provided by
  Heron/XanEdu.

  Licensing material from an Elsevier book: A hyper-text link must be included to the Elsevier
  homepage at http://www.elsevier.com . All content posted to the web site must maintain the
  copyright information line on the bottom of each image.
https://s100.copyright.com/AppDispatchServlet                                                               4/8
4/29/2020       Case 2:19-cv-11133-SM-MBN Document   209-5
                                               RightsLink        Filed
                                                          Printable       10/04/21 Page 122 of 125
                                                                    License


  Posting licensed content on Electronic reserve: In addition to the above the following
  clauses are applicable: The web site must be password-protected and made available only to
  bona fide students registered on a relevant course. This permission is granted for 1 year only.
  You may obtain a new license for future website posting.

  17. For journal authors: the following clauses are applicable in addition to the above:

  Preprints:

  A preprint is an author's own write-up of research results and analysis, it has not been peer-
  reviewed, nor has it had any other value added to it by a publisher (such as formatting,
  copyright, technical enhancement etc.).

  Authors can share their preprints anywhere at any time. Preprints should not be added to or
  enhanced in any way in order to appear more like, or to substitute for, the final versions of
  articles however authors can update their preprints on arXiv or RePEc with their Accepted
  Author Manuscript (see below).

  If accepted for publication, we encourage authors to link from the preprint to their formal
  publication via its DOI. Millions of researchers have access to the formal publications on
  ScienceDirect, and so links will help users to find, access, cite and use the best available
  version. Please note that Cell Press, The Lancet and some society-owned have different
  preprint policies. Information on these policies is available on the journal homepage.

  Accepted Author Manuscripts: An accepted author manuscript is the manuscript of an
  article that has been accepted for publication and which typically includes author-
  incorporated changes suggested during submission, peer review and editor-author
  communications.

  Authors can share their accepted author manuscript:

            immediately
                   via their non-commercial person homepage or blog
                   by updating a preprint in arXiv or RePEc with the accepted manuscript
                   via their research institute or institutional repository for internal institutional
                   uses or as part of an invitation-only research collaboration work-group
                   directly by providing copies to their students or to research collaborators for
                   their personal use
                   for private scholarly sharing as part of an invitation-only work group on
                   commercial sites with which Elsevier has an agreement
            After the embargo period
                   via non-commercial hosting platforms such as their institutional repository
                   via commercial sites with which Elsevier has an agreement

  In all cases accepted manuscripts should:

            link to the formal publication via its DOI
            bear a CC-BY-NC-ND license - this is easy to do
            if aggregated with other manuscripts, for example in a repository or other site, be
            shared in alignment with our hosting policy not be added to or enhanced in any way to
            appear more like, or to substitute for, the published journal article.

  Published journal article (JPA): A published journal article (PJA) is the definitive final
  record of published research that appears or will appear in the journal and embodies all
https://s100.copyright.com/AppDispatchServlet                                                            5/8
4/29/2020   Case 2:19-cv-11133-SM-MBN Document                209-5
                                                        RightsLink        Filed
                                                                   Printable       10/04/21 Page 123 of 125
                                                                             License

  value-adding publishing activities including peer review co-ordination, copy-editing,
  formatting, (if relevant) pagination and online enrichment.

  Policies for sharing publishing journal articles differ for subscription and gold open access
  articles:

  Subscription Articles: If you are an author, please share a link to your article rather than the
  full-text. Millions of researchers have access to the formal publications on ScienceDirect,
  and so links will help your users to find, access, cite, and use the best available version.

  Theses and dissertations which contain embedded PJAs as part of the formal submission can
  be posted publicly by the awarding institution with DOI links back to the formal
  publications on ScienceDirect.

  If you are affiliated with a library that subscribes to ScienceDirect you have additional
  private sharing rights for others' research accessed under that agreement. This includes use
  for classroom teaching and internal training at the institution (including use in course packs
  and courseware programs), and inclusion of the article for grant funding purposes.

  Gold Open Access Articles: May be shared according to the author-selected end-user
  license and should contain a CrossMark logo, the end user license, and a DOI link to the
  formal publication on ScienceDirect.

  Please refer to Elsevier's posting policy for further information.

  18. For book authors the following clauses are applicable in addition to the above:
  Authors are permitted to place a brief summary of their work online only. You are not
  allowed to download and post the published electronic version of your chapter, nor may you
  scan the printed edition to create an electronic version. Posting to a repository: Authors are
  permitted to post a summary of their chapter only in their institution's repository.

  19. Thesis/Dissertation: If your license is for use in a thesis/dissertation your thesis may be
  submitted to your institution in either print or electronic form. Should your thesis be
  published commercially, please reapply for permission. These requirements include
  permission for the Library and Archives of Canada to supply single copies, on demand, of
  the complete thesis and include permission for Proquest/UMI to supply single copies, on
  demand, of the complete thesis. Should your thesis be published commercially, please
  reapply for permission. Theses and dissertations which contain embedded PJAs as part of
  the formal submission can be posted publicly by the awarding institution with DOI links
  back to the formal publications on ScienceDirect.



  Elsevier Open Access Terms and Conditions

  You can publish open access with Elsevier in hundreds of open access journals or in nearly
  2000 established subscription journals that support open access publishing. Permitted third
  party re-use of these open access articles is defined by the author's choice of Creative
  Commons user license. See our open access license policy for more information.

  Terms & Conditions applicable to all Open Access articles published with Elsevier:

  Any reuse of the article must not represent the author as endorsing the adaptation of the
  article nor should the article be modified in such a way as to damage the author's honour or
  reputation. If any changes have been made, such changes must be clearly indicated.

https://s100.copyright.com/AppDispatchServlet                                                                 6/8
4/29/2020   Case 2:19-cv-11133-SM-MBN Document               209-5
                                                       RightsLink        Filed
                                                                  Printable       10/04/21 Page 124 of 125
                                                                            License

  The author(s) must be appropriately credited and we ask that you include the end user
  license and a DOI link to the formal publication on ScienceDirect.

  If any part of the material to be used (for example, figures) has appeared in our publication
  with credit or acknowledgement to another source it is the responsibility of the user to
  ensure their reuse complies with the terms and conditions determined by the rights holder.

  Additional Terms & Conditions applicable to each Creative Commons user license:

  CC BY: The CC-BY license allows users to copy, to create extracts, abstracts and new
  works from the Article, to alter and revise the Article and to make commercial use of the
  Article (including reuse and/or resale of the Article by commercial entities), provided the
  user gives appropriate credit (with a link to the formal publication through the relevant
  DOI), provides a link to the license, indicates if changes were made and the licensor is not
  represented as endorsing the use made of the work. The full details of the license are
  available at http://creativecommons.org/licenses/by/4.0.

  CC BY NC SA: The CC BY-NC-SA license allows users to copy, to create extracts,
  abstracts and new works from the Article, to alter and revise the Article, provided this is not
  done for commercial purposes, and that the user gives appropriate credit (with a link to the
  formal publication through the relevant DOI), provides a link to the license, indicates if
  changes were made and the licensor is not represented as endorsing the use made of the
  work. Further, any new works must be made available on the same conditions. The full
  details of the license are available at http://creativecommons.org/licenses/by-nc-sa/4.0.

  CC BY NC ND: The CC BY-NC-ND license allows users to copy and distribute the Article,
  provided this is not done for commercial purposes and further does not permit distribution of
  the Article if it is changed or edited in any way, and provided the user gives appropriate
  credit (with a link to the formal publication through the relevant DOI), provides a link to the
  license, and that the licensor is not represented as endorsing the use made of the work. The
  full details of the license are available at http://creativecommons.org/licenses/by-nc-nd/4.0.
  Any commercial reuse of Open Access articles published with a CC BY NC SA or CC BY
  NC ND license requires permission from Elsevier and will be subject to a fee.

  Commercial reuse includes:

            Associating advertising with the full text of the Article
            Charging fees for document delivery or access
            Article aggregation
            Systematic distribution via e-mail lists or share buttons

  Posting or linking by commercial companies for use by customers of those companies.



  20. Other Conditions:



  v1.9


  Questions? customercare@copyright.com or +1-855-239-3415 (toll free in the US) or
  +1-978-646-2777.


https://s100.copyright.com/AppDispatchServlet                                                                7/8
4/29/2020      Case 2:19-cv-11133-SM-MBN Document   209-5
                                              RightsLink        Filed
                                                         Printable       10/04/21 Page 125 of 125
                                                                   License




https://s100.copyright.com/AppDispatchServlet                                                       8/8
